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                          Exhibit 004
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ROBERT MARTINO et al.,

                        Plaintiffs,
                                                             Case No. 1:21-cv-01808-RDM
                v.

 ISLAMIC REPUBLIC OF IRAN,

                        Defendant.



                            Expert Report of Michael Pregent
       Under 28 U.S.C. § 1746, I, Michael Pregent, hereby declare under penalty of perjury as

follows:

       I.      SCOPE OF ENGAGEMENT AND OPINIONS

       1.      I have been retained by the Plaintiffs to provide an expert opinion in this case

concerning the key actors and modes involved in Iran’s provision of material support to Sunni

militias and groups in Iraq from 2003 through 2017.

       2.      My opinions, as set forth below, are based upon my decades of experience as an

intelligence officer and Subject Matter Expert (“SME”) in the fields of security, terrorism, counter-

insurgency, and policy—specifically in the Middle East—which informs my knowledge of both

Iranian influence in Iraq and of Islamist terrorist special groups operating in Iraq.

       3.      My opinions are all given within a reasonable degree of certainty based on my

military intelligence and counter-insurgency experience and expertise.
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       II.     QUALIFICATIONS, COMPENSATION, PRIOR TESTIMONY, AND
               PUBLICATIONS

               A.      Qualifications

       4.      I am a senior Middle East analyst. I am currently a Senior Fellow at the Hudson

Institute and a Visiting Fellow at the Institute for National Strategic Studies at the National

Defense University in Washington, D.C. I was previously an adjunct lecturer for the College of

International Security Affairs.

       5.      I have been published in Foreign Policy, The Washington Post, The Wall Street

Journal, Foreign Policy magazine, and CNN. I frequently appear as an expert analyst on Sunni

terrorist groups, Shia militias, Iran, Iraq, and ISIS on BBC World News, Al-Jazeera International,

CNN, CNN International, and Fox News. I recently testified before the U.S. House Committee on

Foreign Affairs, Subcommittee on Terrorism, Nonproliferation, and Trade on the topic of

“Countering Iranian Proxies in Iraq.” 1 I am also a freelance writer for The Wall Street Journal and

a contributing writer to the Daily Beast.

       6.      I am a former intelligence officer with over thirty years of experience working on

security, terrorism, counter-insurgency, and policy issues in the Middle East, North Africa, and

Southwest Asia. I am a subject matter expert on Iran’s Islamic Revolutionary Guard Corps-Quds

Force (“IRGC-QF”) and Islamist terrorist groups, including the so-called Special Groups in Iraq




1
  Michael Pregent, “Michael Pregent Testifies Before the House Committee on Foreign Affairs,”
Hudson Institute, September 26, 2018, https://www.hudson.org/research/14591-michael-pregent-
testifies-before-the-house-committee-on-foreign-affairs.

                                                 2
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as well as Sunni militant groups such as al-Qaeda in Iraq and Ansar al-Islam (“AAI”)/Ansar al-

Sunna (“AAS”). 2

       7.      I served five tours in Iraq from 2005 to 2010. From 2006 to 2010, I was deployed

to Iraq to focus on Iran’s support to the Sunni insurgency, Iran’s penetration of Iraq’s security

apparatus, and IRGC-QF and Ministry of Intelligence and Security (“MOIS”) support to al-Qaeda.

       8.      Between 2006 and 2011, I worked as an SME on Malign Iranian Influence in Iraq

and reported on the sectarian violence that I observed as a policy advisor in Iraqi Prime Minister

Nouri al-Maliki’s extra-constitutional Office of the Commander-in-Chief—an office set up to

expose Iranian-backed Shia militia party control of Iraq’s security and political process—and as a

United States Defense Intelligence Agency (“DIA”) contracted SME on the Sunni insurgency and

IRGC-backed militias in Iraq.

       9.      I served two tours as a member of the Multi National Forces-Iraq (“MNF-I”) Force

Strategic Engagement Cell, an organization set up to deal with the Sunni insurgency—primarily




2
  Plaintiffs use the overall title “AAI” to describe both Ansar al-Islam and Ansar al-Sunna because
AAS ultimately grew out of AAI. I do not dispute this characterization, and do not mean any
distinctions or decisions to use the more precise names for AAI sub-organizations in this report to
suggest otherwise.

                                                3
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al-Qaeda (“AQ”) and al-Qaeda in Iraq (“AQI”) 3—and to curb Iran’s growing influence within the

Government of Iraq.

       10.     I worked on identifying Iran’s support for and direction of IRGC- and QF-backed

Shia militias and Sunni groups in Iraq to target Americans. I was an SME for the MNF-I and

United States Forces-Iraq (“USF-I”) on the IRGC-QF, Kata’ib Hezbollah (“KH”), Asaib Ahl al-

Haqq (“AAH”), Badr Organization, and Jaysh al-Mahi (“JAM”) Special Groups. In this capacity,

I prepared analysts, U.S. State Department officers, and coalition general officers for detainee

questioning, including AAH and Hezbollah leaders, warning U.S. officials that each terrorist “has

American blood on his hands and will return to violence.”

       11.     I have firsthand intelligence knowledge of IRGC-QF Commander Qassem

Soleimani and Lebanese Hezbollah operative DaqDuq, which bears on my testimony today

regarding IRGC-QF and Lebanese Hezbollah’s actions as Iranian conduits of terrorist material

support. I also have firsthand intelligence knowledge of AAH leader Qays Khazali, the JAM

Special Groups’ Sheibani network, JAM Special Groups’ leader Abu Dura, Badr Organization

Commander Hadi al-Ameri, and KH leader Abu Mehdi al-Mohandes.



3
  Plaintiffs refer to ISI, AQI, Tawhid wal Jihad (“TWJ”), and a number of other organizations
collectively as the “Zarqawi organization” in an effort to explain their consistent leadership by
Abu Musab al-Zarqawi and his followers. I concur with this overarching characterization and
agree that the Zarqawi organization, as described by Plaintiffs, describes a consistent
organization—despite its use of various monikers over time. My use of different, more specific
names of Zarqawi organization designations does not reflect any inconsistency with
characterizations in Plaintiffs’ Bellwether Motion or Plaintiffs’ expert reports produced by Dr.
Daveed Gartenstein-Ross.
Furthermore, while Plaintiffs do not include AAI in their definition of “Zarqawi organization,”
and while I note that Zarqawi did have connections to AAI, I do not take issue with the
organizational structure proposed by Plaintiffs. The slight differences in our characterizations do
not change my conclusion that Iran materially supported AQ, the Zarqawi organization as defined
by Plaintiffs, and AAI through its extensive material support to multiple Sunni groups—including
AAI, AAS, TWJ, AQ, AQI, ISI, and others.

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       12.     From August 2011 through July 2013, I served with the United States Central

Command (“CENTCOM”) Intelligence Directorate as an SME on Islamist terrorist groups and the

Intelligence and Security Services in the Middle East, North Africa and Southwest Asia. In that

capacity, I was selected to assess the intelligence value of documents retrieved from the Sensitive

Site Exploitation of Osama bin Laden’s Abbottabad compound. My focus was to find Iran-al-

Qaeda connections. The documents revealed an ongoing and long-standing relationship between

al-Qaeda and Iran.

       13.     I was brought on as an expert at the National Defense University in 2014 at the

request of then Army Chief of Staff General Ray Odierno to contribute to the Department of the

Army’s History of the Iraq War. I provided inputs on malign Iranian influence in Iraq, including

IRGC-QF’s lethal aid and facilitation of foreign fighters to Sunni groups AAI, AAS, Tawhid wal

Jihad (“TWJ”), AQI, and AQI affiliates to target Americans and bog down or “FIX” American

forces in Sunni areas.

       14.     I will lean upon my on-the-ground experience in Iraq from 2005 through 2010, and

my expertise on the IRGC-QF’s material support and lethal aid to Sunni jihadist groups AAI/AAS

and AQI. I served in Mosul from 2005 to 2006 and developed sources and actionable intelligence

to conduct raids against AAS/AAI and AQI. In those operations, the Sensitive Site Exploitation

(“SSE”)—the analysis and processing of captured equipment, cell phones, and materials—

revealed that these groups received direct material support and resources from Iran’s IRGC, IRGC-




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QF, and MOIS, and Lebanese Hezbollah. This material support and lethal aid made AAI/AAS

and AQI lethally effective and capable of conducting complex attacks against U.S. forces. 4

       15.     I received my master’s degree in Strategic Public Relations from The George

Washington University and my bachelor’s degree in Political Science from Indiana University.

       16.     I am a graduate of the U.S. Army’s Defense Language Institute in Modern Standard

Arabic and Egyptian Dialect.

               B.      Compensation

       17.     I received a fee in the amount of $500 per hour for the time that I spent working on

this report. I confirm that I do not have any connections or relationships—whether professional

or personal—with any of the parties in this litigation that are likely to prevent me from giving

impartial evidence. My compensation was not contingent upon my opinions and conclusions, or

the outcome of this matter.

               C.      Prior Testimony

       18.     In the last four years, courts in this District have relied on my expert testimony

about Iran’s material support of terrorist activities in the following matters:

               •    Roth, et al. v. Islamic Republic of Iran, 651 F. Supp. 3d 65, 72-73 (D.D.C.
                    2023) (Roth II) (“At that hearing, the Court recognized Pregent as an expert
                    within the field of military intelligence, terrorism, and counterterrorism under
                    Federal Rule of Evidence 702. Pregent has submitted reports and testified in




4
  See, e.g., “Iran Report: September 13, 2004,” Radio Free Europe/Radio Liberty, September 13,
2004, vol. 7, no. 31, https://www.rferl.org/a/1342699.html (discussing an interview with AAS
Leader Abu Abdalah al Hasan bin Mahmud in Al-Muharrir, a Lebanese weekly political paper);
Andrew Cockburn, “Why the U.S. Probably Won’t Attack Iran,” Counterpunch, January 31, 2006,
https://www.counterpunch.org/2006/01/31/why-the-u-s-probably-won-t-attack-iran/ (discussing
IRGC/MOIS use of bases in northwest Iran to provide support to AAS/AAI); see also RAND WTI,
START, DSAT, and ISVG databases for attacks in Mosul 2004-2005 (these data sources are
unavailable to the public; however, I have personal knowledge of their contents).

                                                  6
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           three other FSIA cases in this district involving Iran and provided declarations
           in two others related to Yemen.”) (citations omitted).

       •   Pennington v. Islamic Republic of Iran, No. CV 19-796 (JEB), 2021 WL
           252910, at *2 (D.D.C. June 24, 2021) (“Plaintiffs’ [] expert[]— . . . Michael
           Pregent (former intelligence officer for the U.S. Army)—explained in detail
           Iran’s history of interference in Iraq, including the support of militant Shia
           proxy groups, and both experts evinced confidence that Iran played a substantial
           role in these attacks.”).

       •   Lee v. Islamic Republic of Iran, 518 F. Supp. 3d 475, 482 (D.D.C. 2021) (“The
           court qualifies Pregent as an expert in ‘intelligence matters, including
           attribution of terror attacks and . . . evidence collection and analysis in the
           intelligence field.’”).

       •   Karcher v. Islamic Republic of Iran, 396 F. Supp. 3d 12, 18-19 (D.D.C. 2019)
           (Karcher I), and Karcher v. Islamic Republic of Iran, No. CV 16-232 (CKK),
           2021 WL 133507, at *4 (D.D.C. Jan. 14, 2021) (Karcher II) (“Michael P.
           Pregent performed intelligence roles for the United States Central Command
           Intelligence Directorate, Defense Intelligence Agency, and U.S. Army and
           currently serves as a senior fellow at the Hudson Institute, where he focuses on,
           among other things, counter-Iranian policy proposals. The Court found that Mr.
           Pregent was qualified to testify regarding ‘intelligence matters, including
           attribution of terror attacks and also evidence collection and analysis in the
           intelligence field.’”) (citations omitted).

       •   Frost v. Islamic Republic of Iran, 383 F. Supp. 3d 33, 38 (D.D.C. 2019)
           (“Michael Pregent[] is a senior fellow at the Hudson Institute, as well as a
           former intelligence officer and visiting fellow at the National Defense
           University. Pregent served in Iraq as an embedded advisor to the Iraqi
           government and as an adjunct fellow and contributor to the Chief of Staff of the
           U.S. Army’s Operation Iraqi Freedom Study Group, which researched and
           wrote an operational history of the Army’s experience in Iraq from 2003 to
           2011. The Court qualified him as an expert on, among other things, Iranian
           influence in Iraq.”).

       •   W.A. v. Islamic Republic of Iran, 427 F. Supp. 3d 117, 125 (D.D.C. 2019) (“The
           Court also qualified Mr. Pregent as an expert in the following areas: Shia
           militias in Iraq, including the Badr Organization; and Iranian influence within
           the Iraqi government following the fall of Saddam Hussein in 2003.”) (citation
           omitted).

       •   Hamen, et al. v. Islamic Republic of Iran, 401 F. Supp. 3d 85, 91 (D.D.C. 2019),
           No. 16-cv-1394 (RDM) (“The Court heard from Michael Pregent, a Senior
           Fellow at the Hudson Institute and former intelligence officer and fellow at the
           National Defense University. . . .”).


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             •    Stearns v. Islamic Republic of Iran, 633 F. Supp. 3d 284, 291 (D.D.C. 2022)
                  (“The court qualifies Mr. Pregent as an expert in ‘intelligence matters, including
                  attribution of terror attacks and . . . evidence collection and analysis in the
                  intelligence field.’”) (citations omitted).

             •    Coombs v. Islamic Republic of Iran, No. CV 19-3363 (RDM), 2022 WL
                  715189, at *2 (D.D.C. Mar. 10, 2022) (“Finally, Plaintiffs have submitted
                  expert affidavits from Michael Pregent . . . a former intelligence officer and
                  Senior Fellow at Hudson Institute, whom this Court qualified in Hamen as an
                  ‘expert on the [Islamic Revolutionary Guard Corps] Qods Force and Iranian
                  efforts to influence political activity in Yemen, Iraq, Syria, and Lebanon.’ In
                  addition to providing relevant updates and discoveries since July 2018, Pregent
                  ‘confirm[ed] and reaffirm[ed] the truth and accuracy of each statement made
                  during [his] testimony [in Hamen], without need for retraction or amendment,
                  despite the benefit of hindsight and [his] observation of subsequent
                  developments.’”) (citations omitted).

             •    Brown v. Islamic Republic of Iran, No. 1:21-CV-1308 (TNM), 2023 WL
                  4824740, at *1 (D.D.C. July 27, 2023) (“At that hearing, the Court recognized
                  Pregent as an expert in military intelligence within Iraq and Afghanistan and
                  terrorism under Federal Rule of Evidence 702. Pregent has submitted reports
                  and testified in several other FSIA cases in this district involving Iran and
                  provided declarations in two others related to Yemen.”) (citations omitted).

             •    Kelli D. Hake, et al. v. Bank Markazi Jomhouri Islami Iran, et al., No. 17-cv-
                  00114 (TJK), 2022 WL 4130837 (D.D.C. Sept. 12, 2022) (qualifying Mr.
                  Pregent as an expert to describe how Iran used the IRGC-QF and Hezbollah to
                  establish Shia insurgent groups and provide them with training, weapons, and
                  financial support).

             •    Est. of Fishbeck v. Islamic Republic of Iran, No. 18-CV-2248 (CRC), 2023 WL
                  5333209, at *2 (D.D.C. Aug. 18, 2023) (offering the court an expert report on
                  Iranian support to Sunni and Shia groups).

             D.      Publications

      19.    During the past ten years, I have published the following articles:

             •    “Appeasing Iran Hurts Us in Iraq, Too,” with Max Boot, The Washington Post,
                  January 24, 2016. 5



5
  Max Boot & Michael Pregent, “Appeasing Iran Hurts Us in Iraq, Too,” The Washington Post,
January 24, 2016, https://www.washingtonpost.com/opinions/obamas-appeasement-of-iran-
comes-at-a-terrible-price-in-iraq/2016/01/24/056025b4-c131-11e5-bcda-
62a36b394160_story.html.

                                                8
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              •   “How to Destroy Islamic State (and How Not To),” with others, Mosaic
                  Magazine, September 2, 2015. 6

              •   “Why Does Baghdad Let ISIS Keep Winning,” with Jacob Siegel, The Daily
                  Beast, May 18, 2015. 7

              •   “On This Battlefield, the U.S. and Iran Work Hand in Hand,” The Tower
                  Magazine, April 2, 2015. 8

              •   “The U.S. Is Providing Air Cover for Ethnic Cleansing in Iraq,” with Michael
                  Weiss, Foreign Policy, March 28, 2015. 9

              •   “Analysis: Iran is No Partner in the Fight Against the Islamic State,” with Ali
                  Alfoneh, Long War Journal, March 11, 2015. 10

              •   “I Saw the U.S. Hand Iraq Over to the Iranians. Is the Whole Region Next?,”
                  The Tower Magazine, February 10, 2015. 11

              •   “How Iran is Making it Impossible for the US to Beat ISIS,” with Michael
                  Weiss, The Daily Beast, February 1, 2015. 12




6
  Michael Doran, et al., “How to Destroy Islamic State (and How Not To),” Mosaic Magazine,
September 2, 2015, https://www.hudson.org/research/11600-how-to-destroy-islamic-state-and-
how-not-to.
7
  Jacob Siegel & Michael Pregent, “Why Does Baghdad Let ISIS Keep Winning,” The Daily
Beast, May 18, 2015, https://www.thedailybeast.com/why-does-baghdad-let-isis-keep-winning.
8
  “On This Battlefield, the U.S. and Iran Work Hand in Hand,” The Tower Magazine, April 2,
2015, http://www.thetower.org/article/on-this-battlefield-the-u-s-and-iran-work-hand-in-hand/.
9
   Michael Weiss & Michael Pregent, “The U.S. Is Providing Air Cover for Ethnic Cleansing in
Iraq,” Foreign Policy, March 28, 2015, https://foreignpolicy.com/2015/03/28/the-united-states-is-
providing-air-cover-for-ethnic-cleansing-in-iraq-shiite-militias-isis/.
10
    Ali Alfoneh, with Michael Pregent, “Analysis: Iran is No Partner in the Fight Against the
Islamic        State,”       Long      War       Journal,         March         11,       2015,
https://www.longwarjournal.org/archives/2015/03/analysis-iran-is-no-partner-in-the-fight-
against-the-islamic-state.php.
11
   Michael Pregent, “I Saw the U.S. Hand Iraq Over to the Iranians. Is the Whole Region Next?,”
The Tower Magazine, February 10, 2015, http://www.thetower.org/article/i-saw-the-u-s-hand-
iraq-over-to-the-iranians-is-the-whole-region-next/.
12
  Michael Weiss & Michael Pregent, “How Iran is Making it Impossible for the US to Beat ISIS,”
The Daily Beast, February 1, 2015, https://www.thedailybeast.com/why-does-baghdad-let-isis-
keep-winning.

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               •   “Exploiting the ISIS Vulnerabilities in Iraq,” with Michael Weiss, The Wall
                   Street Journal, August 12, 2014. 13

               •   “How Iran is Pushing Aside U.S. in Iraq,” with Derek Harvey, CNN, July 7,
                   2014. 14

               •   “The Lesson of The Surge,” with Derek Harvey, New America Foundation,
                   June 24, 2014. 15

               •   “Who’s to Blame for Iraq Crisis,” with Derek Harvey, CNN, June 12, 2014. 16

       20.     I was an expert contributor to the Department of the Army’s History of the Iraq

War, “The U.S. Army in the Iraq War.” 17 Specifically, I provided guidance and inputs for the

chapters concerning IRGC-QF Commander Soleimani’s militias, training, tactics, and targets, as

well as the Badr Corps’ penetration of the Iraqi intelligence and security apparatus. I argue that

Badr’s control of territory through its penetration of the Iraqi Security Forces in the provinces of

Baghdad, Diyala, Salah ad Din, and through its work with Sunni groups, helped grow Soleimani’s

capability to target Americans in Iraq.




13
    Michael Pregent & Michael Weiss, “Exploiting the ISIS Vulnerabilities in Iraq,” The Wall
Street Journal, August 12, 2014, https://www.wsj.com/articles/michael-pregent-and-michael-
weiss-exploiting-the-isis-vulnerabilities-in-iraq-1407884145.
14
   Derek Harvey & Michael Pregent, “How Iran is Pushing Aside U.S. in Iraq,” CNN, July 7,
2014, http://edition.cnn.com/2014/07/07/opinion/harvey-pregent-iraq-iran/.
15
   Derek Harvey & Michael Pregent, “The Lesson of The Surge,” New America Foundation, June
24, 2014, https://www.newamerica.org/international-security/policy-papers/the-lesson-of-the-
surge/.
16
    Derek Harvey & Michael Pregent, “Who’s to Blame for Iraq Crisis,” CNN, June 12, 2014,
https://www.cnn.com/2014/06/12/opinion/pregent-harvey-northern-iraq-collapse/.
17
   Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1”
(US              Army             War              College           Press,           2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.

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       III.    EXPERT METHODOLOGY BASED ON EXPERIENCE AND
               EXPERTISE IN IRAQ AND IRAN

       21.     The methodology I employ to assess the role Iranian material support contributed

to Sunni Group conduct is drawn from decades of professional experience, education, and training.

My methodology is based on the location of the Sunni group activity, the munitions and tactics

utilized, and the group that had primacy and control of the territory in which the conduct occurred

at the time. My conclusions are further based upon the information and data related to terrorist

activities and other events at or near times and locations related to the conduct observed.

       22.     In particular, my methodology is drawn from experience in Iraq working

specifically on Iran’s IRGC-QF and their proxy militias in Iraq, as well as from my years as an

intelligence officer for the U.S. Military and as a contracted SME with the DIA, where I focused

on subjects which were related to terrorism in general, al-Qaeda and the Taliban in Afghanistan,

the Sunni insurgency in Iraq, and IRGC-QF and Lebanese Hezbollah support to Shia militias and

Sunni groups in Iraq. As part of my research on IRGC-QF proxies in Iraq, I visited Iraq and the

region to gauge Iran’s increasing influence in Iraq and the broader Middle East and North Africa.

As a Senior Fellow at the Hudson Institute, this has included quarterly visits to Iraq and the Middle

East region.

       23.     I worked closely with MNF-I intelligence and operations personnel to determine

key factors that led to successful attacks—attacks that injured and killed Americans.             In

determining whether the IRGC-QF provided material support and lethal aid for an attack, we

specifically looked at the location of attack, signature weapons, tactics, the complexity of the

attack, and intelligence preparation for the attack.




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       24.     My experience in Iraq and Iran, along with my knowledge of and research into

terrorist groups operating in these countries, heavily informs my methodology and approach to

analyzing Iranian material support to Sunni groups. This is set forth in more detail below:

               •   I have prepared military and State Department senior officials for their
                   interviews with detained IRGC-QF proxy militia members and members of
                   AAI/AAS, TWJ, and AQI responsible for the deaths of Americans. I have
                   accompanied them during these interviews to keep the line of questioning on
                   track and to document the interviews and turn them into intelligence reports.

               •   I was in Iraq during the majority of IRGC-QF- and Lebanese Hezbollah-
                   directed attacks on American forces during the period relevant to the Soldiers
                   involved in this case—that is, from 2005 through 2010—and I continued to
                   work on Iraq security issues at the Defense Intelligence Agency until 2011.

               •   I was privy to the evidence of Iranian-supported militant groups’ involvement
                   in the deaths of Americans from kidnapping and executions, the use of
                   explosively formed penetrators (“EFPs”), indirect fire (“IDF”), direct fire
                   ambushes (“DF”), complex ambushes, rocket attacks, improvised rocket
                   assisted munitions (“IRAMs),” improvised explosive devices (“IEDs”), as well
                   as vehicle-borne explosive devices (“VBIEDs”) and suicide attacks.

               •   I was privy to the intelligence and had access to detainees involved in these
                   attacks. I was there when the U.S. Armed Forces voted “no” to releasing IRGC-
                   linked militia personnel responsible for the deaths and maiming of Americans
                   from U.S. detention centers.

               •   I was privy to the breadth of Iran’s reach into the Iraqi intelligence and security
                   apparatus facilitated militia integration and operational capability within the
                   ministries and the security forces. The level of IRGC-QF-backed militia
                   infiltration in Iraq’s ministries allowed these groups to use U.S.-purchased
                   SUVs, ministry uniforms, and official documents authorizing travel throughout
                   areas strategic to Iran. Further, this reach allowed militias to pattern U.S.
                   Coalition movements and plan effective attacks against U.S. forces.

               •   I was privy to intelligence showing that IRGC-backed and Lebanese Hezbollah-
                   trained militias could move freely through U.S. Areas of Responsibility
                   (“AOR”) where the majority of these attacks occurred. The militias had their
                   own AOR, and those areas overlay the attacks against Americans they targeted
                   and attacked.

       25.     While I am not offering my opinion as to the specific attributions at issue in the

Bellwether Attacks in this case, based on the documents and reports provided to me, along with


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my counter-insurgency experience and access to attack-specific documents supporting the area of

operations of specific groups receiving Iran-linked lethal aid, I am able to offer my professional

opinion that AAI/AAS, AQI, and their respective affiliates have perpetrated attacks against U.S.

military personnel while relying upon lethal aid from Iran’s IRGC-QF, MOIS, and Lebanese

Hezbollah. It is my qualified professional position that IRGC-QF, MOIS, and Lebanese Hezbollah

made AAI/AAS, AQI, and their respective affiliates more lethal.

       26.     All statements in this report are cited, where possible, to publicly available

sources. All other statements in this report not specifically cited are instead known to me

personally by virtue of my extensive professional experience in the field. On occasion, I will cite

to document databases or government records that are unavailable to the public. I have personal

knowledge of the contents of these databases and records to which I cite, but I am unable to share

these information sources directly.

       27.     I focused professionally on the Sunni insurgency in Iraq, and IRGC-QF and

Lebanese Hezbollah’s support to both Sunni and Shia groups in Iraq. This report focuses on Iran’s

material support and lethal aid to AQ, AAI/AAS, TWJ, and to AQI and its affiliates.

       IV.     OVERVIEW OF FINDINGS

       28.     This section presents an overview of my findings, reflecting personal knowledge

stemming from years I spent in Iraq supporting the fight against terrorist insurgents materially

supported by Iran. I elaborate upon this overview in Sections V-VIII below.

       29.     The inescapable conclusion is that the Islamic Republic of Iran specifically used its

IRGC, IRGC-QF, its premier proxy Lebanese Hezbollah, and its additional proxy Syria to provide

funding, training, weapons, and equipment to Sunni terrorist groups to target Americans and

destabilize Iraq.



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        30.     The U.S. Military, along with U.S. intelligence, documented large quantities of

enemy weapons in Iraq with imprints on lethal material manufactured in Iran. In particular, highly

lethal EFPs made from special copper disks manufactured with highly calibrated machines

provided by the IRGC were discovered. 18

        31.     The IRGC established, organized, and funded attack networks, with Lebanese

Hezbollah serving as the premiere Quds Force (“QF”) proxy to train and facilitate attacks against

U.S. forces in Iraq. 19

        32.     I spent 2005 through 2010 (every year for six to eight months at a time) in Iraq as

an intelligence officer focused on Iran’s support to Sunni and Shia groups in Iraq. I focused on

IRGC-QF support to the Sunni insurgency, specifically attacks carried out by AAI/AAS, TWJ,

and AQI. Their attacks were made more lethal through IRGC-QF, MOIS, and Lebanese Hezbollah

support.

        33.     During my time in the field, in each attack carried out by AAI/AAS/TWJ/AQI, we

found evidence of material support and/or lethal aid from the IRGC-QF and Lebanese Hezbollah

in the form of captured or killed foreign fighters and tactics. The most common contemporary

support was in the form of munitions and manpower—foreign fighter flow into Iraq from Iran and

Syria. Iranian-provided hands-on training by IRGC-QF and Hezbollah in Iran and Lebanon taught

attack tactics that made these Sunni jihadist groups more effective and destructive.




18
    Kimberly Kagan, “Iran’s Proxy War Against the United States and the Iraqi Government,”
Institute for the Study of War & The Weekly Standard, May 2006 - August 20, 2007,
http://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf.
19
   See, e.g., Flanagan v. Islamic Republic of Iran, 87 F. Supp. 3d 93, 108 (D.D.C. 2015) (“In many
of its operations involving terrorist groups, Iran uses Hizballah as a facilitator.… Working through
Hizballah offers Iran some degree of deniability if it chooses, as it places one more degree of
separation between the group in question and Iran.”).

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       34.     The relationship between the IRGC, al-Qaeda, and Lebanese Hezbollah that Iran

created with this support is one that empowered al-Qaeda, and through it, AQI. The successful

tactics al-Qaeda would use to conduct complex attacks to kill and injure U.S. forces were

Hezbollah tactics. It was Hezbollah, with Iran’s backing and support, that taught al-Qaeda how to

build IEDs; how to conduct complex attacks and ambushes; and how to conduct assassination

campaigns and kidnappings. It was the Arabic-speaking Hezbollah that would act as an Arabic-

speaking interface between the IRGC-QF and al-Qaeda at training camps in both Iran and

Lebanon. 20

       35.     This relationship benefitted Iran when the U.S. moved into Afghanistan and Iraq.

Documents from the Abbottabad SSE revealed the agreement between al-Qaeda Senior Leadership

(“AQSL”) and the IRGC to harbor AQSL and secure the transit of al-Qaeda fighters through Iran

to Afghanistan and Iraq. The relationship bore mutual benefits in the killing of Americans in both

Afghanistan and Iraq. 21

       36.     Tehran believed at the time that the presence of U.S. forces in Afghanistan and the

invasion of Iraq in 2003 meant Iran could be next. Both countries border Iran and the goal of the

IRGC-QF and MOIS was to provide lethal aid to all groups fighting the United States.

       37.     The IRGC-QF, Lebanese Hezbollah, and MOIS provided Zarqawi groups with

intelligence on U.S. positions and operations, manpower facilitation, munitions, and advanced



20
   Lebanese Hezbollah is the Arabic-speaking interface that the IRGC-QF uses for both Sunni and
Shia groups. Mathew Levitt, “Hezbollah’s Regional Activities in Support of Iran’s Proxy
Networks,” Middle East Institute, July 26, 2021, https://www.mei.edu/publications/hezbollahs-
regional-activities-support-irans-proxy-networks.
21
   Assaf Moghadam, “Marriage of Convenience: The Evolution of Iran and al-Qaeda’s Tactical
Cooperation, Counter-Terrorism Center (CTC),” West Point Military Academy, April 2017,
https://ctc.westpoint.edu/marriage-of-convenience-the-evolution-of-iran-and-al-qaidas-tactical-
cooperation/.

                                               15
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triggers for IEDs. The IRGC-QF was designated for providing lethal aid and cash bounties for

successful attacks on U.S. forces—attacks that kill or injure U.S. forces.

       38.     During my multiple deployments to Iraq serving as an intelligence advisor to both

General David Petraeus and General Ray Odierno, we often received warnings through

intelligence channels of operations to kidnap U.S. personnel, even on posts where the locals were

Iraqi and third-country nationals. These operations were incentivized by bounties from IRGC-QF.

       39.     The most dangerous parts of Iraq were the Sunni areas where AQI and AAI/AAS

were operating against U.S. forces and where the Shia-dominated Iraqi government made no effort

to create capable forces to partner with the United States to take on al-Qaeda. During that time

period, the Iraqi Security Forces (“ISF”) in these Sunni areas were in the earliest phases of

rebuilding themselves after the beginning of the war, and they were exposed to the insidious

Zarqawi organization and AAI/AAS influence.

       40.     From my years in the field, I can attest to AAI/AAS infiltrating the Sunni Iraqi

Security Forces in Anbar, Diyala, Salah ad Din, and Ninewa Provinces. AAI/AAS also infiltrated

the Sunni local police force and had become able to report on U.S. movements and provide security

for AAI/AAS attacks. Infiltrated and coerced Sunni police provided the outer cordon (perimeter

security) for the emplacement of IEDs and VBIEDs, complex ambushes, and indirect fire

operations (i.e., the launching of rockets and mortars). When the United States did capture

suspected AAI/AAS/JHT/AQI operatives and their accomplices, the local police and Iraqi

National Guard would release them under threat or bribe from Zarqawi affiliates.

       41.     Simultaneously, the Iraqi military and police in areas strategic to Tehran and its

proxies in Baghdad became flooded with pro-Iran militiamen from Badr and JAM, ensuring

operational control of units in Baghdad, Diyala and Salah ad Din, while leaving the majority of



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Sunni Iraqi units partnering with U.S. forces under-equipped and under-manned.                This

significantly contributed to the danger in these regions—Anbar and Ninewa Provinces, along with

Baghdad, remained the most dangerous places in Iraq and accounted for the majority of U.S. deaths

during this time period. 22

        42.     These areas required the United States to surge forces to meet the rising threat of

AQ, AQI, AAI/AAS, and the Zarqawi organization, which was fueled by seemingly unlimited

weapons and manpower facilitated by the IRGC-QF, Lebanese Hezbollah, and the MOIS—all of

which were ultimately provided by Iran.

        43.     The goal of the IRGC and Lebanese Hezbollah was to make each of their Sunni

proxies (including AAI/AAS and TWJ/AQI) more lethal in order to “FIX”— the military term for

keeping forces focused on a specific area—U.S. forces in majority-Sunni areas by keeping them

distracted and focused on the Sunni threat, and also far away from the areas of Shia power that

Tehran wanted to keep free from coalition influence. 23 With U.S. forces focused on the Sunni

insurgency, the IRGC and it proxies grew their influence in the nascent Iraqi government and in

Baghdad’s security forces in order to coup-proof Baghdad from a Ba’athist return to power.

        44.     The IRGC, Lebanese Hezbollah, and the MOIS made possible the ability of AQI

and AAI/AAS to conduct resupply operations, maintain freedom of movement, and shift forces

from one geographic area to another to attack U.S. forces. In this way, they intentionally created

a permissive environment in which AQI and AAI/AAS could freely operate and kept Iran’s larger

goals outside of the conflict’s limelight.



22
   My experience as an intelligence officer and analyst providing support to counter-insurgency
and counter-terrorism operations on the ground in Iraq from 2005 to 2010 informs this assertion.
23
   My experience as an intelligence officer and analyst providing support to counter-insurgency
and counter-terrorism operations on the ground in Iraq from 2005 to 2010 informs this assertion.

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        45.     Attacks attributed to both AQI and AAI/AAS against U.S. forces were made more

successful by this permissive environment enabled by the IRGC-QF, MOIS, and Hezbollah. By

design, the IRGC-QF, MOIS, and Hezbollah made AQI and AAI/AAS more lethal by ensuring

access to weapons and munitions caches as well as a steady stream of expert foreign fighters to

conduct operations in large swaths of territory in the majority Sunni areas of Iraq. Iran and its

proxies prioritized these routes because they wanted Sunni jihadist groups to be so lethal so as to

make them the primary focus of U.S. forces in Iraq. 24

        46.     The facilitation of foreign fighters also permitted Iran to smuggle munitions and

other forms of material support through Mosul (as well as Erbil and Kirkuk) along the established

lines from Syria and Iran at the northern border and southward toward Samarra, along which

supplies were cached for fighters to recover and use against coalition forces in the area, and/or for

further distribution throughout Iraq.

        47.     More specifically, for Iran’s Sunni proxies AAI/AAS and AQI/TWJ and their

respective terrorist cells, this Iranian support zone/permissive environment provided a relative safe

haven for all manner of supportive conduct, including weapons acquisition, exfiltration, training,

and recruitment. There were many credible reports of High Value Targets with known overlapping

connections to AAI/AAS and AQI smuggling networks successfully using the Iranian support

zones to achieve their terroristic ends. 25



24
   My experience as an intelligence officer and analyst providing support to counter-insurgency
and counter-terrorism operations on the ground in Iraq from 2005-2010 informs this assertion.
25
   See, e.g., David Romano, “An Outline of Kurdish Islamist Groups in Iraq,” The Jamestown
Foundation, p. 12, October 1, 2007, https://jamestown.org/wp-content/uploads/2007/09/Romano-
OP.pdf (“A significant degree of Iranian support was necessary for Ansar al-Islam to function,
given that the group’s military supplies came in from Iran.”); Brian Fishman, “The Master Plan:
ISIS, al-Qaeda, and the Jihadi Strategy for Final Victory,” p. 19 (New Haven, CT: Yale University
Press, 2016) (describing a logistical network in Iran shared by Zarqawi and al-Qaeda).

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           48.   I have personal knowledge that Iran established several bases—in Iran—to

accommodate the training of Iraqis to kill Americans beginning in 2003. For example, the Imam

Ali Training Base is an expansive 222-acre training ground 26 where Hezbollah and the IRGC

taught Shia and Sunni groups everything from sniper operations to demolition techniques in order

to target U.S. forces. Despite being a minor facility from 2000 to 2003, the facility underwent a

major development phase around 2003 to expand these capabilities. 27 These improved combat

training facilities included “a 100-meter firing range; a second 100-meter open range that could be

used for rocket launcher, improvised explosives and other weapons training; a driver training

course; an obstacle course; and a combat course consisting of a dispersed collection of small walls,

miscellaneous objects and likely small vehicles used to train troops for combat in urban areas.” 28

The following satellite photo depicts this facility: 29




26
    Seth G. Jones, “War by Proxy: Iran’s Growing Footprint in the Middle East,” Center for
Strategic and International Studies, March 11, 2019, https://www.csis.org/war-by-proxy.
27
   Id. (citing Callum Paton, “Iran Trains Thousands of Mercenaries Each Year to Fight in Syria
and Iraq Wars Claims PMOI,” International Business Times, February 14, 2017,
https://www.ibtimes.co.uk/iran-trains-thousands-mercenaries-each-year-fight-syria-iraq-wars-
claims-pmoi-1606591); Amb. Dore Gold, “Inside the Octopus: Unraveling Iran’s Terrorist Quds
Force,” Jerusalem Center for Public Affairs, March 16, 2012, http://jcpa.org/article/inside-the-
octopus-unraveling-irans-terror-ist-quds-force/; Matthew Levitt, “Hamas: Politics, Charity, and
Terrorism in the Service of Jihad” (New Haven, CT: Yale University Press, 2007).
28
    Seth G. Jones, “War by Proxy: Iran’s Growing Footprint in the Middle East,” Center for
Strategic and International Studies, March 11, 2019, https://www.csis.org/war-by-proxy.
29
     Id.

                                                   19
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        49.    Similarly, sophisticated fighters—sniper experts, explosives specialists, bomb-

makers, suicide bombers, and mortar and rocket experts—would use the foreign fighter apparatus

provided by Iran’s proxy, Syria, to significantly enhance their effectiveness. These fighters would

fly into Damascus, be met by their handlers, hone their skills in Syria, rehearse their attacks, team

up with co-conspirators, and then be briefed on their operational zones, all under the protection of

Iran’s client state Syria’s intelligence apparatus and the tutelage of Iran’s premiere Hezbollah

trainers.

        50.    Once these foreign fighters destined to AAI/AAS, AQI, and their respective

affiliates were ready for operations, they would be transported into Iraq under the watchful eye of

Syrian intelligence, ensuring that operatives and recruits would carry out their attacks in Iraq and

not against the Assad regime in Syria.

        51.    In this way, AQI and AAI/AAS in particular were made more capable through the

Iranian facilitation network made possible by the IRGC-QF, Hezbollah, and Syrian intelligence.


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       V.      IRANIAN ENTITIES AND PROXIES THROUGH WHICH IRANIAN
               MATERIAL SUPPORT WAS PROVIDED TO TERRORISTS

       52.     By definition, any brief treatment of events in Iraq during 2003 through 2011 or of

the wider role Iran played in the Middle East is likely to oversimplify complex historical trends

and render deep societal, cultural, theological, and philosophical phenomena in distorted two-

dimensional terms. Thus, although what follows could not ever fully place the events discussed

and analyzed into their full historical context, the following section aims to convey basic

background information necessary to contextualize my professional opinions regarding Iranian

support to its Sunni terrorist proxies.

               A.      The IRGC, IRGC-QF, and General Qassem Soleimani

       53.     Iran’s primary instrument for exporting the ideology of the Islamic Revolution is

the IRGC. 30 Answering directly to the Supreme Leader, Ali Khamenei, the IRGC is tasked with

preserving the Islamic Republic of Iran and is Iran’s main link to its terrorist proxies. 31 The IRGC

was first designated for its support of terrorism by the U.S. Treasury Department, pursuant to




30
   Greg Bruno, et al., “Iran’s Revolutionary Guards,” Council on Foreign Relations, June 14,
2013, https://www.counterextremism.com/threat/irgc-islamic-revolutionary-guard-corps/report.
31
        “Country Reports on Terrorism 2021:              Iran,” U.S. Department of State,
https://www.state.gov/reports/country-reports-on-terrorism-2021/iran/; Muniqith Dagher, “The
Iranian Islamic Revolutionary Guard Corps (IRGC) from an Iraqi View – a Lost Role or a Bright
Future?,” Center for Strategic & International Studies, June 30, 2020,
https://www.csis.org/analysis/iranian-islamic-revolutionary-guard-corps-irgc-iraqi-view-lost-
role-or-bright-future.

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Executive Order 13382, on October 25, 2007. 32 It was further designated a Specially Designated

Global Terrorist (“SDGT”) in October 2017. 33

       54.    In 1990, the IRGC transferred certain capabilities to its Quds Force subdivision. 34

The IRGC-QF is a special unit within the IRGC responsible for extraterritorial operations. It

specializes in foreign missions and providing weapons, training, and funding to terrorist groups,

including Iraqi insurgents, Hezbollah, and Hamas. 35 Formerly commanded by Major General

Qasem Soleimani, the IRGC-QF also reports directly to Iran’s Supreme Leader. 36

       55.    The IRGC-QF was first designated by the Treasury Department as an SDGT,

pursuant to Executive Order 13382, in October 2007 37 and was further designated an SDGT in




32
    “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation Activities and
Support of Terrorism,” Press Release, U.S. Department of the Treasury, October 25, 2007,
https://home.treasury.gov/news/press-releases/hp644.
33
   “Treasury Designates the IRGC under Terrorism Authority and Targets IRGC and Military
Supporters under Counter-Proliferation Authority,” Press Release, U.S. Department of the
Treasury, October 13, 2017, https://home.treasury.gov/news/press-releases/sm0177.
34
   The IRGC is the parent organization of the IRGC-QF. Although the two constitute one unitary
entity, the IRGC-QF was the department of the IRGC responsible for Iranian policy in Iraq.
35
   “Unclassified Report on Military Power of Iran,” Report by Secretary of Defense to Congress
in accordance with § 1245 of the Fiscal Year National Defense Authorization Act, April 2010, at
p. 2, https://www.iranwatch.org/sites/default/files/us-dod-reportmiliarypoweriran-0410.pdf.
36
   Miriam Berger, “What is Iran’s Revolutionary Guard Corps that Soleimani Helped to Lead?,”
The Washington Post (Jan. 4, 2020), https://www.washingtonpost.com/world/2020/01/04/what-is-
irans-revolutionary-guard-corps-that-soleimani-helped-lead/.
37
    “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation Activities and
Support of Terrorism,” Press Release, U.S. Department of the Treasury, October 25, 2007,
https://home.treasury.gov/news/press-releases/hp644.

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October 2011. 38 General Soleimani was first designated in October 2007 39 and was further

designated an SDGT in October 2011. 40

           56.   In the late 1970s, Iran cemented its “Death to America” edict and goal to run

Americans out of the Middle East. 41 This violent anti-American mission continues to shape

Iranian foreign policy today and has since focused on fueling terrorist activities designed to kill,

kidnap, and/or take Americans hostage. 42

           57.   “Iran has conducted this war primarily using the Islamic Revolutionary Guard

Corps Quds Force (IRGC-QF) and the Iranian proxy Lebanese Hezbollah. Both have been

engaged in direct military action; and both have cultivated and supported military action abroad

by other proxies, mainly through the use of terrorist bombings, abductions and assassinations. The

killing of U.S. soldiers in Iraq and Afghanistan serves a strategic goal.” 43

                        IRGC Leadership and Structure

           58.   The IRGC-QF is broken up into regional commands, the first of which, the “First

Corps” (also known as “Ramazan Headquarters” or “Ramazan Corps”), was entirely dedicated to



38
   “Treasury Designates the IRGC under Terrorism Authority and Targets IRGC and Military
Supporters under Counter-Proliferation Authority,” Press Release, U.S. Department of the
Treasury, October 13, 2017.
39
    “Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation Activities and
Support of Terrorism,” Press Release, U.S. Department of the Treasury, October 25, 2007,
https://home.treasury.gov/news/press-releases/hp644.
40
  Id.; “Treasury Sanctions Five Individuals Tied to Iranian Plot to Assassinate the Saudi Arabian
Ambassador to the United States,” Press Release, U.S. Department of the Treasury, October 11,
2011, https://home.treasury.gov/news/press-releases/tg1320.
41
   Col. Richard Kemp (ret.) and Maj. Chris Driver-Williams (ret.), “Killing Americans and their
Allies: Iran’s Continuing War against the United States and the West,” Jerusalem Center for
Public Affairs, https://jcpa.org/killing-americans-allies-irans-war/.
42
     Id.
43
     Id.

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implementing the IRGC’s policies in Iraq. 44 General Abdul Reza Shahlai, a deputy commander

in the IRGC-QF, served as a key coordinator for the organization’s activities after 2003. 45

       59.     Soleimani’s footprint was firmly established during the ISIS campaign beginning

in 2014 and remains in place today despite his death in January 2020. 46 General Qassem

Soleimani’s own words to General David Petraeus in 2008 also illustrate the direct connection

between the Quds Force and Iraq: “Dear General Petraeus,” the text read, “you should know that

I, Qassem Soleimani, control the policy for Iran with respect to Iraq, Lebanon, Gaza and

Afghanistan. And indeed, the ambassador in Baghdad is a Quds Force member. The individual

who’s going to replace him is a Quds Force member.” 47

       60.     Prior to the ISIS campaign, Soleimani was known as “The Shadow General.” He

was not out in the open and the rumor of Soleimani’s physical presence in Iraq was hard for U.S.




44
    Joseph Felter & Brian Fishman, “Iranian Strategy in Iraq: Politics and ‘Other Means,’”
Combating Terrorism Center at West Point, Occasional Paper Series, October 13, 2008,
https://ctc.westpoint.edu/wp-content/uploads/2010/06/Iranian-Strategy-in-Iraq.pdf.
45
    U.S. Department of Treasury, “Treasury Designates Individuals and Entities Fueling Violence
in Iraq,” September 16, 2008, https://home.treasury.gov/news/press-releases/hp1141.
46
    Michael Pregent, “Iran’s Landbridge is Operational. The IRGC-QF and its Proxies Have
Primacy, Freedom of Movement, and a Permissive Environment to Further Destabilize The Middle
East,” U.S. House of Representatives Committee on Oversight and Government Reform’s
Subcommittee           on          National          Security,         April           2018,
https://www.congress.gov/115/meeting/house/108155/witnesses/HHRG-115-HM05-Wstate-
PregentM-20180417.pdf.
47
     Aaron Blake, “When the United States and Qasem Soleimani worked together,” The
Washington Post, January 3, 2020, https://www.washingtonpost.com/politics/2020/01/03/when-
united-states-qasem-soleimani-worked-together/.

                                                24
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intelligence to confirm. 48 During the ISIS campaign, Soleimani was out in the open on the

battlefields of Iraq and Syria with the Iraqi Shia militias he cultivated taking so many photos with

militiamen that he became known on social media as “The Selfie General.” 49

       61.     Soleimani’s open presence in Iraq ultimately led to his death on January 3, 2020,

when the U.S. targeted him and Hezbollah leader, Abu Mehdi al-Mohandes, in response to the

Soleimani-directed Kataib Hezbollah attack on the U.S. K1 base south of Kirkuk on December 27,

2019 that killed Iraqi-American translator Nawres Hamid, and the attempted seizure of the U.S.

Embassy in Baghdad. 50

               B.      Hezbollah

       62.     Hezbollah is an Iranian-funded and IRGC-trained Lebanese terrorist organization

founded in the early 1980s. The IRGC provided critical assistance to Hezbollah at its inception in

1982 and continuously through the years since. 51 Hezbollah did not see itself as an independent

political group or militia, but rather as an extension of the Iranian revolution which had taken place



48
     Dexter Filkins, “The Shadow Commander,” The New Yorker, September 23, 2013,
https://www.newyorker.com/magazine/2013/09/30/the-shadow-commander; Falih Hassan, Ben
Hubbard & Alissa J. Rubin, “Protesters Attack U.S. Embassy in Iraq, Chanting ‘Death to
America,’”       The      New       York      Times,       December         31,      2019,
https://www.nytimes.com/2019/12/31/world/middleeast/baghdad-protesters-us-embassy.html.
49
   Siobhan O’Grady, “He’s Back! Iran’s Selfie General Seems to be in Syria Posing for Pics,”
Foreign Policy, November 10, 2015, https://foreignpolicy.com/2015/11/10/hes-back-irans-selfie-
general-seems-to-be-in-syria-posing-for-pics/.
50
   Barbara Starr, “US Civilian Contractor Killed in Rocket Attack in Iraq,” CNN, December 27,
2019, https://www.cnn.com/2019/12/27/politics/iraq-rocket-attack-contractor-killed/index.html;
Zachary Cohen, et al., “US Drone Strike Ordered by Trump Kills Top Iranian Commander in
Baghdad,” CNN, January 4, 2020, https://www.cnn.com/2020/01/02/middleeast/baghdad-airport-
rockets/index.html; Falih Hassan, Ben Hubbard & Alissa J. Rubin, “Protesters Attack U.S.
Embassy in Iraq, Chanting ‘Death to America,’” The New York Times, December 31, 2019,
https://www.nytimes.com/2019/12/31/world/middleeast/baghdad-protesters-us-embassy.html.
51
  Nicholas Blanford, “Iran & Region IV: Lebanon’s Hezbollah,” United States Institute of Peace,
January 28, 2015, https://iranprimer.usip.org/blog/2015/jan/28/iran-region-iv-lebanons-hezbollah.

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only a few years earlier. 52 It is unsurprising, therefore, that the organization swore an oath of fealty

to Iran’s Supreme Leader at the time, Ayatollah Khomeini. 53

           63.   Since its inception in 1982, Hezbollah has undergone several changes. At first, its

focus was on attacking the Israeli army in southern Lebanon. 54 Since then, Hezbollah has proven

itself to have global reach and staying power. 55 It is often credited for pioneering the use of suicide

bombers as a strategic weapon and delivering large VBIEDs to specific targets. 56 With the IRGC-

QF’s assistance, Hezbollah has demonstrated exceptional tactical and technological prowess and

has been used by Iran as the “tip of the spear” for the IRGC-QF’s global operations. 57 Hezbollah

was designated as a foreign terrorist organization on October 8, 1997. 58




52
    Jeffrey Feltman, “Hezbollah: Revolutionary Iran’s Most Successful Export,” Brookings,
January 17, 2019, https://www.brookings.edu/articles/hezbollah-revolutionary-irans-most-
successful-export/.
53
    Kali Robinson, “What is Hezbollah?,” Council on Foreign Relations, October 14, 2023,
https://www.cfr.org/backgrounder/what-hezbollah; Nicholas Blanford, “Iran & Region IV:
Lebanon’s       Hezbollah,”     U.S.    Institute    For      Peace,    January 28, 2015,
https://iranprimer.usip.org/blog/2015/jan/28/iran-region-iv-lebanons-hezbollah.
54
   “Hezbollah’s Global Reach,” U.S. Department of State, September 28, 2006, https://2001-
2009.state.gov/s/ct/rls/rm/2006/73352.htm.
55
     Id.
56
   Matthew Levitt, “Echoes of 1983 Beirut Bombings in Current Iranian Proxy Escalation,” The
Washington       Institute   for     Near      East     Policy,     October     23,      2023,
https://www.washingtoninstitute.org/policy-analysis/echoes-1983-beirut-bombings-current-
iranian-proxy-escalation.
57
   “Explainer: What You Need To Know About Hezbollah, The Group Backing Hamas Against
Israel,” Reuters, October 17, 2023, https://www.reuters.com/world/middle-east/what-is-
hezbollah-lebanese-group-backing-hamas-its-war-with-israel-2023-10-16/.
58
    Kali Robinson, “What is Hezbollah?,” Council on Foreign Relations, October 14, 2023,
https://www.cfr.org/backgrounder/what-hezbollah.

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       64.     For many years until his death in 2008, Imad Mughniyah (“Mughniyah”) served as

the head of Hezbollah’s external terror apparatus. 59 Beginning in the 1980s, Hezbollah developed

capabilities that allowed it to launch terrorist attacks in places as disparate as Kuwait, Argentina,

and Bulgaria. 60 As set forth below, the IRGC-QF deployed Hezbollah operatives to Iraq in 2003

to help organize and arm Sunni and Shia groups in advance of its campaign to drive the United

States and its allies out of the country. Additionally, Hezbollah acted as an IRGC-QF interface for

training Arabic-speaking terrorists in both Lebanon and Iran.

               C.      Syria

       65.     The Syrian regime of Bashar al-Assad depends on Lebanese Hezbollah and the

Islamic Republic to keep him in power. Iran needs Iraq and Syria to be part of its “Shia Crescent,”

along with Lebanon, to be able to move fighters and weapons into the Levant to threaten Israeli

and American interests in the region. 61 Syria is an Iranian client state and a key component of

Iran’s “land bridge” that allows the IRGC-QF to move personnel and weapons from Iran through

Iraq to Syria, Lebanon, and the Israeli border at Golan.




59
   Corbeil Shkolnik, “Hezbollah’s ‘Virtual Entrepreneurs:’ How Hezbollah is Using the Internet
to Incite Violence in Israel,” Combating Terrorism Center at West Point, volume 12, issue 9,
October      2019,     https://ctc.westpoint.edu/hezbollahs-virtual-entrepreneurs-hezbollah-using-
internet-incite-violence-israel/.
60
   Ned Price, “Remembering the Victims of Hizballah Attacks,” Press Statement, U.S. Department
of State, July 18, 2022, https://www.state.gov/remembering-the-victims-of-hizballah-attacks/;
Matthew Levitt, “29 Years Later, Echoes of ‘Kuwait 17,’” The Washington Institute for Near East
Policy, December 13, 2012, https://www.washingtoninstitute.org/policy-analysis/29-years-later-
echoes-kuwait-17.
61
    Thomas Joscelyn, “Slain Syrian Official Supported al-Qaeda in Iraq,” FDD’s Long War
Journal,                        July                        24,                    2012,
https://www.longwarjournal.org/archives/2012/07/slain_syrian_officia.php.

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       66.     Assad is still in his position because of Lebanese Hezbollah and the Islamic

Republic of Iran. In return, Assad maintains Iran’s land-bridge through Syria.

               D.      Abu Musab al-Zarqawi

       67.     Abu Musab al-Zarqawi was Jordanian-born and known as a bully and a thug during

his youth. 62 In his early 20s, Zarqawi underwent a religious awakening after his mother enrolled

him in classes “hoping to keep him out of a life of crime.” 63 Shortly thereafter, Zarqawi traveled

to Afghanistan to join a jihadist movement in a fight against the Soviet Union. 64

       68.     While Abu Musab al-Zarqawi would come to be known predominantly for his

affiliation with AQI (and later the Islamic State in Iraq (ISI)), prior to their establishment he first

served as an al-Qaeda operative in Afghanistan and then moved to Iraq through Iran and re-

established relationships with other insurgent groups including AAI/AAS. His affiliations with

these groups would change over time, as he founded, co-founded, and dissolved various entities,

including Tawhid wal Jihad (TWJ), before taking up the mantle of al-Qaeda in Iraq (AQI) and

becoming the leader of its Sunni insurgency. Zarqawi received training and funds from the IRGC-

QF in Iran before moving into Afghanistan and then heading al-Qaeda’s terrorist operations in




62
    Mary Anne Weaver, “The Short, Violent Life of Abu Musab Al-Zarqawi,” The Atlantic,
July/August 2006, https://www.theatlantic.com/magazine/archive/2006/07/the-short-violent-life-
of-abu-musab-al-zarqawi/304983/.
63
  Brian Fishman, “The Master Plan: ISIS, al-Qaeda, and the Jihadi Strategy for Final Victory,”
Kindle ed. (New Haven, CT: Yale University Press, 2016), loc. 207 of 8220.
64
    Mary Anne Weaver, “The Short, Violent Life of Abu Musab Al-Zarqawi,” The Atlantic,
July/August 2006, https://www.theatlantic.com/magazine/archive/2006/07/the-short-violent-life-
of-abu-musab-al-zarqawi/304983/.

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Iraq. 65 The IRGC-QF provided Zarqawi with funding, weapons, and transportation into Iraq to

target U.S. troops. 66

           69.   Abu Musab al-Zarqawi was in Iran in 2002 with senior al-Qaeda leaders to meet

with their IRGC-QF handlers. In March 2003, Soleimani’s Quds Force freed many of the Sunni

jihadists that Iran had been holding captive, unleashing them against the U.S. 67 That same year,

the IRGC-QF provided Zarqawi and his fighters funds and weapons and facilitated Zarqawi’s entry

into the bordering Iraqi Kurdistan and on to Baghdad to attack U.S. forces. 68

           70.   Zarqawi and his Tawhid wal-Jihad (Monotheism and Holy War) initiated mass

casualty attacks against the Iraqi population and complex attacks against the U.S.-led Coalition.

           71.   Zarqawi established his group to attract former Saddam regime fighters and foreign

fighters moving into Iraq from Syria.

           72.   Zarqawi also received support from al-Qaeda using funds which, in turn, had

originated from Iran. For example, in November of 2003, Osama bin Laden began sending $1.5

million a month to the Iraqi Insurgency and identified Zarqawi as al-Qaeda’s man on the ground. 69




65
    Adrian Levy & Cathy Scott-Clark, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help,” The
Atlantic, November 11, 2017, https://www.theatlantic.com/international/archive/2017/11/al-
qaeda-iran-cia/545576/ (this article cites captured documents from the Abbottabad raid on Osama
bin Laden and highlights the connections to the IRGC-Quds Force).
66
     Id.
67
   Karim Sadjadpour, “The Sinister Genius of Qassem Soleimani,” The Wall Street Journal,
January 10, 2020, https://www.wsj.com/articles/the-sinister-genius-of-qassem-soleimani-
11578681560.
68
   Adrian Levy & Cathy Scott-Clark, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help,” The
Atlantic, November 11, 2017, https://www.theatlantic.com/international/archive/2017/11/al-
qaeda-iran-cia/545576/.
69
   Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1”
(US              Army             War              College           Press,          2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs

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       73.     The U.S. Department of Treasury designated Zarqawi as an SDGT on September

24, 2003 70 and the U.S. Department of State designated AQI a Foreign Terrorist Organization

(“FTO”) on December 17, 2004. 71

               E.     AAI/AAS

       74.     Ansar al-Islam (AAI or sometimes styled AI) is a Kurdish Salafist militant group

that has gone by several names since its inception in 2001, including Jund al-Islam and Ansar Al-

Sunna (AAS). AAI was designated as a terrorist group by the U.S. Department of Treasury on

February 20, 2003, and has additionally been listed on the U.N. Security Council Consolidated

List. 72 Its origins date back to the beginning of Iraq’s Kurdistan Islamic Movement (IMK) in 1987,

which was supported and funded by Iran during the Iran-Iraq War. 73 Under the leadership of

Othman Abdul Aziz, the IMK declared jihad against Saddam Hussein and his Ba’athist

government for its occupation of the Islamic lands of Kurdistan, a cause which allowed ties to




70
   “Treasury Designates Six Al-Qaida Terrorists,” U.S. Department of the Treasury, September
24, 2003, https://home.treasury.gov/news/press-releases/js757.
71
        “Designated Foreign Terrorist Organizations,”            U.S.    Department     of   State,
https://www.state.gov/foreign-terrorist-organizations/.
72
     “Treasury Department Statement Regarding the Designation of Ansar Al-Islam,” U.S.
Department of the Treasury, February 20, 2003; “United Nations Security Council Consolidated
List,”    United     Nations     Security     Council,     accessed    May     23,     2019,
https://www.un.org/securitycouncil/content/un-sc-consolidated-list.
73
  David Romano, “An Outline of Kurdish Islamist Groups in Iraq,” The Jamestown Foundation,
October 1, 2007, https://jamestown.org/wp-content/uploads/2007/09/Romano-OP.pdf.

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form between them and al-Qaeda at the time. 74 After the Iran-Iraq War, the IMK received support

from Iran’s MOIS and fought alongside Iranian forces during the Val Fajr-10 offensive; Saddam

Hussein’s deployment of chemical weapons in Kurdistan came later as a response. 75

       75.     Following the Gulf War, a no-fly zone was installed north of the 36th parallel and

Kurdish political activities resumed. 76 A 1992 election for the Kurdish parliament revealed a sharp

divide between the IMK and the Kurdish people, and the IMK failed to secure any parliamentary

seats. 77 As tensions grew between IMK and secular Kurdish groups, the IMK resorted to terrorist

attacks against the Kurdish government with support from Iran and Syria. 78           The Kurdish




74
    Saed Kakei, “The Islamic Movement of Kurdistan: From Conflict to Cooperation,” Ekurd
Daily, March 25, 2013, https://ekurd.net/mismas/articles/misc2013/3/state6950.htm; David
Romano, “An Outline of Kurdish Islamist Groups in Iraq,” The Jamestown Foundation, October
1, 2007; “Profile:        Kurdish Islamist Movement,” BBC News, January 13, 2003,
http://news.bbc.co.uk/2/hi/not_in_website/syndication/monitoring/media_reports/2588623.stm;
Adel Bakawan, “Three Generations of Jihadism in Iraqi Kurdistan,” Notes de l’Ifri, July 2017, p.
8,
https://www.ifri.org/sites/default/files/atoms/files/bakawan_jihadism_iraqi_kurdistan_2017.pdf;
Angell and Gunaratna, “Terrorist Rehabilitation,” pp. 10-11.
75
   Miguel Ángel Ballesteros Martin, “Iraqi Kurdistan,” Geopolitical Overview of Conflicts 2017
(Madrid:          Spanish      Institute   of      Strategic    Studies,    2018),    p.    117,
https://publicaciones.defensa.gob.es/media/downloadable/files/links/g/e/geopolitical-overview-
2017.pdf; International Crisis Group, “Radical Islam in Iraqi Kurdistan: The Mouse That Roared,”
ICG Middle East Briefing, 2003, p. 2, https://www.refworld.org/pdfid/3efde9634.pdf.
76
    Matan Chorev, “Iraqi Kurdistan: The Internal Dynamics and Statecraft of a Semistate,” Al
Naklah, Fall 2007, p. 4; Joost Jongerden, “Governing Kurdistan: Self-Administration in the
Kurdistan Regional Government in Iraq and the Democratic Federation of Northern Syria,”
Ethnopolitics,                                    p.                                     63,
https://www.tandfonline.com/doi/epdf/10.1080/17449057.2018.1525166?needAccess=true.
77
   Michael M. Gunter, “The KDP-PUK Conflict in Northern Iraq,” Middle East Journal, Vol. 50,
No. 2 (Spring 1996), p. 232; Joshua R. Itzkowitz Shifrinson, “The Kurds and Regional Security:
An Evaluation of Developments Since the Iraq War,” Middle East Brief 14 (2006), pp. 1-2; Saed
Kakei, “The Islamic Movement of Kurdistan: From Conflict to Cooperation,” Ekurd Daily, March
25, 2013, https://ekurd.net/mismas/articles/misc2013/3/state6950.htm.
78
   David Romano, “An Outline of Kurdish Islamist Groups in Iraq,” The Jamestown Foundation,
p. 9, October 1, 2007, https://jamestown.org/wp-content/uploads/2007/09/Romano-OP.pdf.

                                                31
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government responded with a large-scale military campaign and forced the majority of IMK

members to flee to Iran temporarily. 79

       76.     By December 2001, the IMK had splintered and several of those groups merged to

form Ansar al-Islam, led by former IMK member Mullah Fatih Krekar (a/k/a Najmaddin Faraj

Ahmad), who had studied under Osama bin Laden’s mentor Abdullah Azzam and described bin

Laden as “a jewel in the crown of Islam.” 80

       77.     The founding of AAI deepened the connection between Kurdish militants and al-

Qaeda. The U.S. Treasury explains that AAI “came into being with the blessing of bin Laden after

its leaders visited al-Qaeda in Afghanistan in 2000 and 2001. Bin Laden provided AAI with an

estimated $300,000 to $600,000 in seed money.” 81 Bin Laden also provided AAI with installments

of $10,000 from 2001 to 2003. 82



79
    “Iraq: Human Rights Abuses in Iraqi Kurdistan Since 1991,” Amnesty International, p. 35,
https://www.amnesty.org/en/wp-content/uploads/2021/06/mde140011995en.pdf; Michael M.
Gunter, “The KDP-PUK Conflict in Northern Iraq,” Middle East Journal, Vol. 50, No. 2 (Spring
1996), p. 232; Mohammed Shareef, “Kurdish Islamists in Iraq from the Muslim Brotherhood to
the So-Called Islamic State,” King Faisal Center for Research and Islamic Studies, Issue 5, Shaban
1436, June 2015, p. 9; “Islamic Movement of Kurdistan,” Mapping Militant Organizations,”
Stanford              University,          accessed            May           30,             2019,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/islamic-movement-kurdistan; “Ansar al-
Islam           in          Iraqi      Kurdistan,”           Human         Rights           Watch,
https://www.hrw.org/legacy/backgrounder/mena/ansarbk020503.htm.
80
           “Ansar     al-Islam    in     Iraqi    Kurdistan,”    Human      Rights     Watch,
https://www.hrw.org/legacy/backgrounder/mena/ansarbk020503.htm; David Romano, “An
Outline of Kurdish Islamist Groups in Iraq,” The Jamestown Foundation, p. 12, October 1, 2007,
https://jamestown.org/wp-content/uploads/2007/09/Romano-OP.pdf; J.M. Berger, “The Mullah
Krekar Show,” Foreign Policy, July 22, 2011, https://foreignpolicy.com/2011/07/22/the-mullah-
krekar-show/.
81
   “Treasury Department Statement Regarding the Designation of Ansar al-Islam,” Press Release,
U.S. Department of the Treasury, February 20, 2003, https://home.treasury.gov/news/press-
releases/js48.
82
  Cremonesi Lorenzo, “The Terrorist Leader, Funds for the Organization Come from bin Laden,”
Corriere Della Sera (Italian), February 2, 2004.

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       78.     By 2002, Ansar al-Islam was harboring more than 80 foreign jihadists, most of

them members of Jamaat al-Tawhid wal-Jihad (JTJ), including Abu Musab al-Zarqawi. 83 The

arrival of Zarqawi corresponded with increased violence against the Kurdish government, as

terrorist attacks intensified throughout 2002. 84 AAI’s ability to sustain its operation against the

Kurdish government astonished observers, leading experts to conclude that AAI was receiving

significant external support from Iran. 85

       79.     In March 2003, coalition forces launched “Operation Viking Hammer” against

AAI, during which the organization lost hundreds of its fighters. 86 In the wake of the operation,

the IRGC facilitated surviving AAI members’ escape into Iran, provided medical treatment,




83
   George Michael, “The Legend and Legacy of Abu Musab Al‐Zarqawi,” Defence Studies, vol.
7, no. 3 (September 1, 2007), p. 340; Charles Lister, “Profiling the Islamic State,” Brookings,
December 1, 2014, p. 9, https://www.brookings.edu/articles/profiling-the-islamic-state/; “Study of
the Insurgency in Anbar Province, Iraq,” Marine Corps Intelligence Activity, June 13, 2007),
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0989.%20chapter3.pdf; C.J. Chivers,
“Kurds Face a Second Enemy: Islamic Fighters on Iraq Flank,” The New York Times, January 13,
2003, https://www.nytimes.com/2003/01/13/world/threats-responses-northern-iraq-kurds-face-
second-enemy-islamic-fighters-iraq.html; Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The
U.S. Army in the Iraq War, Volume 1,” at pp. 21, 48 (US Army War College Press, 2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
84
   C. J. Chivers, “Islamic Militants Clash with Kurdish Forces in Northern Iraq,” The New York
Times, December 5, 2002, https://www.nytimes.com/2002/12/05/world/threats-responses-
guerrilla-war-islamic-militants-clash-with-kurdish-forces.html; “Kurdish Group Formed to Fight
Secular       Rule,”     The       New       York      Times,     December        15,    2002,
https://www.nytimes.com/2002/12/15/international/middleeast/kurdish-group-formed-to-fight-
secular-rule.html.
85
   International Crisis Group, “Radical Islam in Iraqi Kurdistan: The Mouse That Roared,” Iraq
Briefing, February 7, 2003, pp. 8-9, https://icg-prod.s3.amazonaws.com/radical-islam-in-iraqi-
kurdistan-the-mouse-that-roared.pdf; “Al-Qaeda in Northern Iraq?,” Strategic Comments, vol. 8,
no. 7, September 1, 2002, p. 2, https://doi.org/10.1080/1356788020873; David Romano, “An
Outline of Kurdish Islamist Groups in Iraq,” The Jamestown Foundation, p. 12, October 1, 2007,
https://jamestown.org/wp-content/uploads/2007/09/Romano-OP.pdf.
86
  Mike Perry, “Operation Viking Hammer,” SOFREP – Military, Foreign Policy and Defense
News, May 20, 2012, https://sofrep.com/news/operation-viking-hammer/.

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offered a haven to regroup, and ultimately granted fighters seeking to return to Iraq access to local

smugglers. 87

       80.      In August 2003, as AAI’s members shifted their focus back into Iraq, Kurdish

jihadist leader Abu Abdullah al-Shafi’i made a formal declaration denouncing AAI’s former

leader, Mullah Krekar, as “secular” and an “apostate.” 88 Following the statement’s release, attacks

conducted by AAI members were claimed under the name Ansar al-Sunna (AAS), though many

operatives abroad retained their identity as a part of Ansar al-Islam while continuing to work on

behalf of Ansar al-Sunna.

       81.      Al-Qaeda’s influence over AAI/AAS during this period could be found not only in

its public statements but also in its operational profile. AAI/AAS increasingly became known for

its well-timed, planned, and precise attacks. 89 The group’s attacks also regularly employed

disguises, and it developed sophisticated ambush techniques that used improvised explosive

devices and RPGs. 90 AAI/AAS likewise maintained a relationship with Zarqawi and AQI, as



87
      Scheherezade Faramarzi, “Iran’s Salafi Jihadis,” Atlantic Council, May 17, 2018,
https://www.atlanticcouncil.org/blogs/iransource/iran-s-salafi-jihadis/; International Crisis Group,
“Iran in Iraq: How Much Influence?,” ICG Middle East Briefing, March 21, 2005, pp. 19-20,
https://icg-prod.s3.amazonaws.com/38-iran-in-iraq-how-much-influence.pdf;          C.J.     Chivers,
“While Many Islamic Fighters Surrender, Kurds Remain Wary of New Terrorist Attacks,” The
New York Times, April 7, 2003, https://www.nytimes.com/2003/04/07/world/nation-war-field-
northern-iraq-while-many-islamic-fighters-surrender-kurds.html; Thanassis Cambanis, “Along
Border, Kurds Say, Iran Gives Boost to Uprising,” Boston Globe, November 7, 2004.
88
   Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1,”
at        p.      174       (US        Army        War        College     Press,     2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs; see
also Al-Sharq Al-Awsat, August 23, 2003 (Arabic).
89
   Angel Rabasa, et al., “Beyond Al-Qaeda: The Global Jihadist Movement,” RAND Corporation,
p. 143.
90
   Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1,”
at        p.      353       (US        Army        War        College     Press,      2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.

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illustrated during the Second Battle of Fallujah in 2004 and its aftermath. During the battle,

AAI/AAS used the outskirts of Mosul as a refuge for combatants fleeing the city, including

Zarqawi. 91

         82.    In 2006, AAI/AAS was weakened after a coalition counteroffensive under

Operation SAYAID II. Ansar al-Sunna’s operations became further integrated with those of AQI,

with the majority of the group’s western Anbar cadres either falling under the operational

leadership of AQI or defecting to AQI. 92 Ansar al-Sunna’s weakened state in 2006 led Iran to

renew its support for the group in Kurdistan. Iran reportedly facilitated the recruitment of Iranian

Kurds by offering them monthly salaries of $1,500 in return for submitting to ideological and

military training. 93 AAI/AAS remained a consistent terrorist threat during the years that followed;

however, their stature diminished after the group splintered into rival factions in 2007. 94

         VI.    TERRORISTS SUPPORTED BY IRAN

         83.    The IRGC-QF is the Islamic Republic of Iran’s primary instrument for providing

lethal aid to Sunni terrorist groups.




91
    Truls Hallberg Tønnessen, “Training on a Battlefield: Iraq as a Training Ground for Global
Jihadis,” Terrorism and Political Violence, vol. 20, no. 4 (2008), p. 554; Michael Weiss & Hassan
Hassan, “ISIS: Inside the Army of Terror,” p. 38; “Study of the Insurgency in Anbar Province,
Iraq,”       Marine      Corps        Intelligence        Activity,      June      13,     2007),
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0989.%20chapter3.pdf.
92
     Oscar E. Gilbert, “The Marine Corps Tanks Collection” (Open Road Media, 2018), p. 221.
93
   “Iran Allegedly Using Ansar Al-Islam, Al-Qa’idah to Interfere in Iraqi Kurdistan,” BBC
Monitoring Middle East, April 28, 2007; “Report Views Relationship between Iran, Iraqi Kurds,”
BBC Monitoring Middle East, April 27, 2007; “Iraqi Kurdish Article: Border Attack Shows Iran
Cannot Be Trusted,” BBC Monitoring Middle East, July 18, 2007.
94
   Gus Martin, “The SAGE Encyclopedia of Terrorism,” Second Edition (SAGE Publications,
2011).

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           84.   Numerous Iraqi trainees captured by Coalition Forces in Iraq described traveling to

Iran, where they were taken to military training compounds manned by uniformed Iranian soldiers.

These camps were run by the IRGC-QF, and the trainers were all either members of the IRGC-QF

or Hezbollah. 95

           85.   The training programs that Iran provided included: (1) a basic paramilitary skills

and weapons course lasting approximately 20 days, offering introductory training on mortars,

IEDs, and firearms; (2) an advanced paramilitary course that provided training in advanced

operations and tactics, logistics and support, and information operations; and (3) a master-trainer

course (also referred to as “train the trainer”), which was intended to create a subset of Iraqi fighters

that could take these combat skills and teach them to Iraqis locally, thereby reducing the cost and

exposure to Iran of bringing Iraqis across the border to receive training. Oftentimes, to advance

in the training program, Iraqi recruits made multiple trips to Iran or to camps in Lebanon

maintained by Hezbollah. 96

                 A.     Iranian Material Support For Al-Qaeda

                        i.      How the Al-Qaeda–Iran Alliance Formed and Flourished

           86.   Before the 9/11 attacks, al-Qaeda developed a relationship with Iran’s proxy,

Lebanese Hezbollah, which organized and supported numerous IRGC-directed terrorist attacks for

the benefit of the Islamic Republic of Iran. For example, senior al-Qaeda leadership including

Osama bin Laden himself met with Imad Mughniyeh, the mastermind Hezbollah terrorist




95
    Joseph Felter & Brian Fishman, “Iranian Strategy in Iraq: Politics and ‘Other Means,’”
Combating Terrorism Center at West Point, Occasional Paper Series, October 13, 2008, pp. 55-
70, https://ctc.westpoint.edu/wp-content/uploads/2010/06/Iranian-Strategy-in-Iraq.pdf.
96
     Id.

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responsible for the 1983 U.S. Marine Barracks bombing in Beirut, Lebanon. 97                Al-Qaeda

leadership wanted to learn Lebanese Hezbollah tactics and techniques, and Hezbollah trained al-

Qaeda operatives on IEDs, suicide bombings, and complex attacks and ambushes. 98 These are the

same tactics Lebanese Hezbollah and the IRGC-QF would later teach Zarqawi groups (including

AQI) within Iraq to effectively target U.S. forces. 99

            87.    In 1991, Ayman al Zawahiri, one of the top leaders of al-Qaeda, made a secret visit

to Iran to ask for help in al-Qaeda’s campaign to overthrow the government of Egypt. 100 While in

Iran, al Zawahiri met with Imad Mughniyah (“Mughniyah”). 101 At the time of the meetings,

Mughniyah was the terrorist operations chief of Hezbollah. Mughniyah was acting as an agent of

the Iranian state, where he lived for many years while he coordinated high-profile terrorist attacks

around the globe. 102

            88.    During these meetings, Mughniyah convinced al Zawahiri and al-Qaeda of the

power of suicide bombing. 103 This was a change in mindset for al-Qaeda because suicide was




97
    See Thomas Joscelyn, “Iranian Minister Honors Al-Qaeda Mentor, Hezbollah's Imad
Mugniyah,” The Daily Beast, April 14, 2017, https://www.thedailybeast.com/iranian-minister-
honors-al-qaeda-mentor-hezbollahs-imad-mugniyah.
98
   My experience as an intelligence officer and analyst providing support to counter-insurgency
and counter-terrorism operations on the ground in Iraq from 2005-2010 informs this assertion.
99
   Eben Kaplan, “The al-Qaeda-Hezbollah Relationship,” Council on Foreign Relations, August
10, 2006, https://www.cfr.org/backgrounder/al-qaeda-hezbollah-relationship.
100
   Proposed Findings of Fact and Conclusions of Law at 16, Havlish v. Bin-Laden, No. 1:03-cv-
09848-GBD-SN (S.D.N.Y. Dec 20, 2011), ECF No. 292.
101
      Id.
102
      Id. at 14-15.
103
      Id. at 16.

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prohibited by most Islamic clerics, but Mughniyah justified it as an appropriate act of a jihad

warrior. 104

            89.    In 1993, at a meeting in Khartoum, Sudan, Osama bin Laden and Ayman al

Zawahiri met with Mughniyah and other Iranian officials, including IRGC General Mohammed

Baqr Zolqadr, to work on details of a terrorism alliance. 105

            90.    Following the meeting, bin Laden sent more terrorist operatives to Hezbollah

training camps operated by Mughniyah and the IRGC, both in Lebanon and Iran. At these camps,

Hezbollah instructors provided al-Qaeda operatives, as well as members of various other Islamic

terrorist organizations, training in intelligence, security, and in the building of explosive

devices. 106

            91.    This terrorist training camp arrangement continued throughout the 1990s with

Mughniyah coordinating activities with Iranian government officials and the IRGC-QF. At all

times, Iran’s Supreme Leader was aware of the Iran–Hezbollah terrorist training program and

approved of the same. 107

            92.    In 1995, Soleimani approved, and his Quds Force facilitated training for al-Qaeda

operatives at Lebanese training camps. The training focused on building stronger IEDs and shape

charges that would eventually be used in Afghanistan and Iraq. 108




104
      Id.
105
      Id. at 16-17.
106
      Id. at 17.
107
      Id. at 18.
108
    Adrian Levy & Cathy Scott-Clark, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help,” The
Atlantic, November 11, 2017, https://www.theatlantic.com/international/archive/2017/11/al-
qaeda-iran-cia/545576/.

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                         ii.    The Type and Extent of Iranian Material Support for Al-
                                Qaeda

            93.   According to the 9/11 Commission Report, “senior al Qaeda operatives and trainers

traveled to Iran to receive training in explosives,” 109 while others received advice and training

from Hezbollah in Lebanon. 110

            94.   The Osama bin Laden Sensitive Site Exploitation (SSE) of the Abbottabad raid

revealed the connection between al-Qaeda and the Islamic Republic of Iran. The IRGC and its

IRGC Quds Force funded and armed al-Qaeda operatives to strike American targets. The IRGC

facilitated movement of al-Qaeda and Taliban fighters. In the case of al-Qaeda, the IRGC

facilitated the movement of operatives into Iraq, Afghanistan, and Pakistan. 111

            95.   Abu Musab al-Zarqawi, while serving as al-Qaeda’s man in Iraq (and before

becoming the godfather of AQI/ISIS), received training and funds from the IRGC-QF in Iran

before moving into Afghanistan and then heading al-Qaeda’s terrorist operations in Iraq. 112




109
         Thomas Kean, et al., “The 9/11 Commission                     Report,”    pp.,   61,   240,
https://govinfo.library.unt.edu/911/report/911Report.pdf.
110
   My experience as an intelligence officer and analyst providing support to counter-insurgency
and counter-terrorism operations on the ground in Iraq from 2005 to 2010 informs this assertion.
111
    Adrian Levy & Cathy Scott-Clark, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help,” The
Atlantic, November 11, 2017, https://www.theatlantic.com/international/archive/2017/11/al-
qaeda-iran-cia/545576/ (This article cites captured documents from the Abbottabad raid on Osama
bin Laden and highlights the connections to the IRGC-Quds Force).
112
      Id.

                                                 39
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            96.   Zarqawi visited IRGC-QF training camps and received financial and material

support from the IRGC-QF. 113 Captured al-Qaeda operative Omar Bizani, a Zarqawi lieutenant,

stated in his interrogations that the IRGC-QF was supporting Zarqawi. 114

            97.   The IRGC-QF provided Zarqawi with funding, weapons, and transportation into

Iraq to target U.S. troops. 115

                         iii.     U.S. Designations Reveal Iran-al-Qaeda Relationship

            98.   On July 28, 2011, a U.S. Treasury Department designation revealed the extensive

relationship between al-Qaeda and Iran, citing the importance of Iranian finance and recruitment

facilitation. The designation cites Iran as a transit point for moving money, arms, and fighters to

Pakistan and Afghanistan. 116 Iran borders Afghanistan, Pakistan, and Iraq.

            99.   On February 16, 2012, U.S. Treasury Department also designated the Iranian MOIS

for support to al-Qaeda. It reads as follows: “[Iran’s] MOIS has facilitated the movement of al

Qa’ida operatives in Iran and provided them with documents, identification cards, and passports.

MOIS also provided money and weapons to al Qa’ida in Iraq (AQI) . . . and negotiated prisoner

releases of AQI operatives.” 117




113
   Dore Gold & Jonathan D. Halevi, NO. 538 1 TEVET 5766, “Al-Qaeda, Zarqawi, and Israel: Is
There a New Jihadi Threat Destabilizing the Eastern Front?,” https://www.jcpa.org/jl/vp538.htm.
114
      Id.
115
         “Country Reports on Terrorism 2019,” U.S.                      Department     of    State,
https://www.state.gov/reports/country-reportson-terrorism-2019/.
116
     “Treasury Targets Key Al-Qa’ida Funding and Support Network Using Iran as a Critical
Transit Point,” Press Release, U.S. Department of the Treasury, July 28, 2011,
https://home.treasury.gov/news/press-releases/tg1261.
117
    “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights Abuses
and support for Terrorism,” Press Release, U.S. Department of the Treasury, February 16, 2012,
https://home.treasury.gov/news/press-releases/tg1424.

                                                 40
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        100.   On October 18, 2012, the U.S. Treasury Department issued a press release titled,

“Treasury Further Exposes Iran-Based Al-Qaeda Network,” which highlighted the breadth of

support Iran had provided al-Qaeda:

        “Today’s action, which builds on our action from July 2011, further exposes al-
        Qa’ida’s critically important Iran-based funding and facilitation network,” said
        Under Secretary for Terrorism and Financial Intelligence, David S. Cohen. “We
        will continue targeting this crucial source of al-Qa’ida’s funding and support, as
        well as highlight Iran’s ongoing complicity in this network’s operation.”

        […]

        In addition to providing funding for al-Qaeda activities in Afghanistan and
        Pakistan, this network is working to move fighters and money through Turkey to
        support al-Qaeda-affiliated elements in Syria. Al-Fadhli also is leveraging his
        extensive network of Kuwaiti jihadist donors to send money to Syria via Turkey. 118

               B.      Iranian Material Support to AQI and AAI/AAS

                       i.     Iranian Indirect Material Support of AQI & AAI/AAS
                              Through Proxies Hezbollah and Syria

        101.   Al-Qaeda in Iraq (AQI) and its affiliates as well as AAI/AAS benefitted from

IRGC-QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, MOIS, Lebanese

Hezbollah, and Syrian intelligence support networks.

        102.   While I have not been asked to attribute IRGC-QF, Lebanese Hezbollah, or Syrian

support to any specific attack here, I have analyzed attacks in Iraq before, including in Anbar,

Babil, Baghdad, Diyala, Kirkuk, and Saladin provinces 119 and can speak to the interplay of Iran

and these groups in attacks in these regions.




118
   “Treasury Further Exposes Iran-Based Al-Qa’ida Network,” Press Release, U.S. Treasury
Department, October 18, 2012. https://home.treasury.gov/news/press-releases/tg1741.
119
    See Brown v. Islamic Republic of Iran, No. 1:21-CV-1308 (TNM), 2023 WL 4824740, ECF
36-20 (D.D.C. July 27, 2023).

                                                41
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                               a.     How the Iran–Hezbollah–Syria Alliance Flourished in
                                      Concert With AQI and AAI/AAS

        103.   The IRGC-QF, MOIS, and Hezbollah established Foreign Fighter facilitation

routes and weapons and munitions caches along resupply routes maintained by IRGC-QF proxies.

Through IRGC-QF and Lebanese Hezbollah’s lethal aid and material support, AQI and AAI/AAS

could rely on a steady flow of foreign fighters and established weapons and munitions caches to

continue their lethal operations. As a result of this alliance, AQI and AAI/AAS maintained the

ability to resupply munitions and personnel, maintain freedom of movement, and shift forces from

one geographic area to another to conduct attacks against U.S. forces. In this way, attacks

attributed to AQI and AAI/AAS against U.S. forces were made more lethal and successful by

material support and lethal aid from IRGC-QF and Hezbollah.

                               b.     Syrian Intelligence Moved Al-Qaeda Fighters Into Iraq

        104.   The IRGC-QF, Lebanese Hezbollah, and Syrian Intelligence established the

capability to move foreign fighters into Iraq, and Bashar al-Assad was aware and approved

operations for receiving and transferring al-Qaeda operatives and recruits to Iraq. A State

Department cable stated: “Bashar al-Asad was well aware that his brother-in-law ‘Asif Shawqat,

Director of Syrian Military Intelligence, had detailed knowledge of the activities of AQI facilitator

Abu Ghadiya, who was using Syrian territory to bring foreign fighters and suicide bombers into

Iraq.” 120

        105.   Throughout the Iraq War, Syrian intelligence officers facilitated AQI operations in

Iraq by providing safe houses, training sites, and manpower. The State Department described the




120
     Thomas Joscelyn, “Slain Syrian Official Supported al-Qaeda in Iraq,” FDD’s Long War
Journal,                        July                        24,                     2012,
https://www.longwarjournal.org/archives/2012/07/slain_syrian_officia.php.

                                                 42
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Syrian intelligence network “as the ‘principal conduit for foreign terrorists heading into Iraq to

join AQI’…This network continues to operate with the knowledge of the Syrian government and

sends virtually all of its foreign terrorists into Iraq across the Syrian border.” 121

            106.   The IRGC-QF, in conjunction with Lebanese Hezbollah and Syrian intelligence,

provided easily accessible lethal aid to al-Qaeda and its affiliates (including AQI) and sustained

their operations by pushing foreign fighters through established IRGC-QF, Hezbollah, and Syrian

Intelligence facilitation routes into Iraq. The IRGC-QF and Lebanese Hezbollah thus made lethal

aid available to AQ/AQI to target American and Coalition Forces, while ensuring these fighters

destined to join AQ/AQI left Syria and entered Iraq.

                          ii.    Iran’s Indirect Material Support of AQI and AAI/AAS
                                 Through Its Proxy al-Qaeda

                                 a.      Iran’s Connection to the Formation of AQI and AAI/AAS

            107.   Abu Musab al-Zarqawi used safe havens provided by Iran to avoid capture, as well

as to train AQI and AAI/AAS members and smuggle foreign fighters and weapons through Iran

and across the Iran/Syria borders into northern and eastern Iraq. 122

            108.   The formation of AAI in September 2001 into a single organized group of extremist

fighters was a direct effect of al-Qaeda senior leadership’s encouragement from their safe haven

in Iran. 123



121
      Id.
122
   See, e.g., SigAct Report Ctrl. Nos. 17782; 22103; 24681; 25511; 26687; 26791; 28070; 38432;
56490; 74003; 28992; 90332; 90365; 116561; 65637; 365322; MDR 2—0021 NGIC Release,
02/28/20 – Report of Mahmud Muhammad Gha’ud al Jaburi aka Abu Ahmed and Khudayir Taha
aka Abu Isra. These data sources are unavailable to the public; however, I have personal
knowledge of their contents.
123
    Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1,”
at        p.      47       (US        Army        War         College      Press,     2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.

                                                   43
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          109.    With the fall of the Taliban in late 2001, AAI sheltered a number of al-Qaeda

members and affiliates fleeing Afghanistan through Iran to Iraq. One of those who sought refuge

with AAI was Abu Musab al-Zarqawi. 124

          110.    Al-Qaeda leaders considered their alliance with AAI an opportunity to expand their

foothold in the Middle East, and al-Qaeda, in turn, provided resources, training, and guidance to

the group, enabling it to first carve out a miniature Islamic state in the Halabjah area in eastern

Iraq, less than five miles from the Iranian border. From there, AAI, with the support provided by

al-Qaeda and Iran, built out its operations base further by incorporating underground Sunni

extremist networks in Nineveh Province. 125

          111.    Zarqawi visited IRGC-QF training camps and received financial and material

support from the IRGC-QF. Captured al-Qaeda operative Omar Bizani, a Zarqawi lieutenant,

stated in his interrogations that the IRGC was supporting Zarqawi. 126

          112.    Abu Musab al-Zarqawi was in Iran in 2002 with senior al-Qaeda leaders to meet

with the IRGC-QF handlers. In March 2003, Soleimani’s Quds Force freed many of the Sunni

jihadists that Iran had been holding captive, unleashing them against the U.S. 127 These events

were central to providing Zarqawi the means to form the organization that would become AQI and

eventually the Islamic State of Iraq (ISI).




124
      Id. at p. 48.
125
      Id. at p. 48.
126
   Dore Gold & Jonathan D. Halevi, NO. 538 1 TEVET 5766, “Al-Qaeda, Zarqawi, and Israel: Is
There a New Jihadi Threat Destabilizing the Eastern Front?,” https://www.jcpa.org/jl/vp538.htm.
127
    Karim Sadjadpour, “The Sinister Genius of Qassem Soleimani,” The Wall Street Journal,
January 10, 2020, https://www.wsj.com/articles/the-sinister-genius-of-qassem-soleimani-
11578681560.

                                                  44
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        113.   Documents captured from the 2010 Abbottabad raid on bin Laden’s compound

included a 19-page record citing negotiations between the IRGC and al-Qaeda to fund and arm the

Sunni terror group to target Americans in Iraq and Afghanistan. 128

               C.      Iranian Direct Material Support for AQI and AAI/AAS

        114.   The IRGC-QF and their proxies benefitted from the U.S. focus on the Sunni

insurgency. The IRGC-QF expanded its influence in Iraq’s political, security, and intelligence

sectors of the Government of Iraq (GOI) and applied pressure on U.S. decision-makers through

Iraqi officials to maintain their focus on the Sunni threat and limit military operations against Shia

militias.

        115.   This Iranian support also included the establishment of cross-sectarian relationships

of convenience, as Iran sought to bolster Sunni strength against the perceived Sunni-Shia mutual

enemy of coalition forces. As AQI and AAI/AAS’s areas of operation spread across Iraq, Coalition

Forces (CF) leaders discovered that Sunni terrorist groups and IRGC-QF Shia Special Groups were

operating in tandem. This included exchanging weapons and personnel, as well as issuing joint

statements and propaganda urging Iraqis to pick up arms against CF or warning them to avoid

areas and roadways where the groups intended to target CF. 129

                       i.      Type and Extent of Iran’s Material Support for AQI/the
                               Zarqawi Organization

        116.   The IRGC-QF provided lethal aid, established weapons caches to al-Qaeda and its

affiliates (including AQI) and sustained their operations by establishing foreign fighters facilitation



128
    Adrian Levy & Cathy Scott-Clark, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help,” The
Atlantic, November 11, 2017, https://www.theatlantic.com/international/archive/2017/11/al-
qaeda-iran-cia/545576/.
129
   My experience as an intelligence officer and analyst providing support to counter-insurgency
and counter-terrorism operations on the ground in Iraq from 2005-2010 informs this assertion.

                                                  45
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operations from Iran and Syria into Iraq and on to Diyala Province, a province key to sustaining

Iran’s lethal aid flow into Iraq.

            117.   The IRGC-QF supported AQI and its affiliates in Diyala Province to keep Multi-

National Forces-Iraq—the U.S. led coalition—focused on the Sunni insurgency in order to provide

a permissive environment for the IRGC-QF and its proxy militias to establish primacy in areas

vital to Iran’s strategic interests to further Iran’s strategic goals in areas vital to Iran’s control and

hold on post-Saddam Iraq.

            118.   The IRGC-QF supported AQI and its affiliates to keep U.S. forces engaged—

FIXED—in Sunni areas while the IRGC-QF used its proxy Shia militias to establish primacy in

order to further Iran’s strategic goals in areas vital to Iran’s control and hold on post-Saddam

Iraq. 130

            119.   Al-Qaeda affiliate Jamaat al-Tawhid wa al-Jihad (JTJ) is a Sunni Jihadist group

created by Abu Musab al-Zarqawi, who later formed al-Qaeda in Iraq, which eventually became

the Islamic State.

            120.   The IRGC-QF provided funding, weapons, and transportation directly to Zarqawi

so that he could target U.S. troops in Iraq. 131

            121.   For example, in 2003, the IRGC-QF provided Zarqawi and his fighters funds,

weapons, and advanced training on the use of these weapons and tactics. The IRGC-QF and MOIS

facilitated Zarqawi’s entry into the bordering Iraqi Kurdistan and into Baghdad to attack U.S.



130
   My experience as an intelligence officer and analyst providing support to counter-insurgency
and counter-terrorism operations on the ground in Iraq from 2005 to 2010 informs this assertion.
131
    Adrian Levy & Cathy Scott-Clark, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help,” The
Atlantic, November 11, 2017, https://www.theatlantic.com/international/archive/2017/11/al-
qaeda-iran-cia/545576/ (This article cites captured documents from the Abbottabad raid on Osama
bin Laden and highlights the connections to the IRGC-Quds Force.).

                                                   46
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forces. 132 CF reporting substantiates large numbers of Iranian munitions were used against U.S.

Forces by AAI/AAS and AQI. Munitions were seized by CF and Iraqi Security Forces from caches

within the immediate vicinity of AAI/AAS and AQI attack locations. 133

            122.   These munitions included mortars, rockets, man-portable air-defense systems

(MANPADS) and anti-aircraft missiles (e.g., SA-7 Strela and Misagh 1 & 2 systems), anti-tank

mines, small arms, and critical bomb components (including Iranian electronics) for IEDs,

SBVIEDs and VBIEDs. 134

            123.   The capability to conduct complex attacks using advanced weapons and weapons

systems required sophisticated and technical training. This training was provided to AQI and

AAI/AAS by expert trainers from al-Qaeda, Hezbollah and the IRGC-QF in both Iran and

Lebanon. 135 The training would later be reinforced in rehearsals in Iraq before attacks against U.S.

forces.

                         ii.    Type and Extent of Iran’s Material Support for AAI/AAS

            124.   Iran likewise provided direct support to AAI/AAS. For example, on March 28,

2003, CF Special Operations Forces along with coalition-aligned Kurdish Peshmerga units

launched Operation Viking Hammer intended to address the threat of AAI/AAS to the safety and




132
      Id.
133
     See, e.g., SigAct Report Ctrl. Nos. 26791; 28070; 34719; & 56694; See also RAND WTI,
START, DSAT, and ISVG databases for attacks in Mosul 2004 through 2005. These data sources
are unavailable to the public; however, I have personal knowledge of their contents.
134
   My personal knowledge of weapons and equipment found in caches in Mosul during operations
against the Zarqawi network informs this assertion.
135
   My experience as an intelligence officer and analyst providing support to counter-insurgency
and counter-terrorism operations on the ground in Iraq from 2005 to 2010 informs this assertion.

                                                 47
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stability of Iraq. 136 This operation resulted in hundreds of casualties to AAI/AAS with those

surviving primarily able to do so by seeking refuge in Iran. The result of Operation Viking

Hammer was so decisive that CF commanders, at the time, considered the group “destroyed.”137

Post-battle intelligence exploitation of the identifications and documents on many of the dead

AAI/AAS fighters “revealed a melting pot of fighters from all over the Arab world, with troves of

documents linking Al-Islam to Al-Qaida, Hezbollah and Hamas.” 138

            125.   By summer 2003, “[s]igns emerged that Ansar al-Islam, having survived the

coalition’s attack on it in early April, was beginning to reestablish itself in northern Iraq with

support from al-Qaeda.” 139 In short order, AAI/AAS re-established its network of safe houses and

other logistics operations for foreign fighters inside Iraq.

            126.   An Iranian-provided safe haven allowed AAI/AAS to survive near total destruction

and to go on perpetrating their heinous attacks. In the wake of Operation Viking Hammer, the

IRGC facilitated surviving AAI/AAS members’ escape into Iran, provided medical treatment,

offered a haven to regroup, and ultimately granted them access to local smugglers for fighters




136
    Timothy Brown, “Unconventional Warfare as a Strategic Force Multiplier: Task Force Viking
in Northern Iraq, 2003” (Joint Special Operations University Press, 2017), p. 14; Col. Joel D.
Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1,” at p. 95 (US
Army                  War                 College                 Press,                2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
137
   Mike Perry, “Operation Viking Hammer,” SOFREP – Military, Foreign Policy and Defense
News, May 20, 2012, https://sofrep.com/news/operation-viking-hammer/.
138
      Id.
139
    Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1,”
at        p.      155       (US        Army        War        College      Press,     2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.

                                                  48
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seeking to return to Iraq. 140   AAI/AAS members who escaped the Coalition operations in

March/April 2003 were able to use that Iran-provided network to regroup and broaden their appeal

to Iraqis beyond its eastern enclaves in Iraqi Kurdistan with assistance from Iran and Zarqawi. It

was determined that AAI/AAS had relationships with Islamist foreign fighters numbering in the

hundreds, expanding beyond northern Iraq and into Fallujah, Tikrit, Bayji, and Baghdad.

        127.   AAI/AAS’s connection to Iran-supported al-Qaeda also allowed the two groups to

exchange thought leadership in effective terroristic practices. For example, AAI/AAS’s ties to al-

Qaeda influenced the group to develop a cell-based structure similar to al-Qaeda’s, each cell of

which was organized into small units of ten to fifteen members led by an emir or commander. “As

in al-Qaeda, only a small handful of people in the entire organization were aware of or connected

to, multiple cells, making the organization more difficult to destroy. As the group’s membership

grew, it reorganized some of its members and cells into battalions consisting of both Iraqi nationals

and foreign fighters from al-Qaeda” seeking to attack CF and disrupt the effort to establish a

democratic government in Iraq. 141




140
       Scheherezade Faramarzi, “Iran’s Salafi Jihadis,” Atlantic Council, May 17, 2018,
https://www.atlanticcouncil.org/blogs/iransource/iran-s-salafi-jihadis/; International Crisis Group,
“Iran in Iraq: How Much Influence?,” ICG Middle East Briefing, pp. 19-20, March 21, 2005;
Jeffrey Fleishman, “Ansar Fighters Surrender to Kurds,” Los Angeles Times, April 7, 2003,
https://www.latimes.com/archives/la-xpm-2003-apr-07-war-ansar7-story.html; C.J. Chivers,
“While Many Islamic Fighters Surrender, Kurds Remain Wary of New Terrorist Attacks,” The
New York Times, April 7, 2003, https://www.nytimes.com/2003/04/07/world/nation-war-field-
northern-iraq-while-many-islamic-fighters-surrender-kurds.html; Neil MacFarquhar, “Iraq Draws
a New Tide of Islamic Militants,” International Herald Tribune, August 15, 2003; Thanassis
Cambanis, “Along Border, Kurds Say, Iran Gives Boost to Uprising,” Boston Globe, November
7, 2004.
141
    Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1,”
at        p.      174       (US        Army        War        College      Press,     2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.

                                                 49
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         128.    Beginning in early 2004, Kurdish leaders, including those who met directly with

Iranian consuls and Iraqi/Kurd news sources, routinely reported that Iran (through its MOIS) was

providing training to AAI/AAS and AQI members, similar to what it offered Iran’s Shia Special

Groups, in training camps along the Iranian border in the Hamrin mountain region and near the

city of Mariwan in Iran. 142

         129.    CF intelligence reporting indicated the existence of a “Kurdish Facilitation

Network” involving leaders from both AAI/AAS and AQI, some residing within Iran, that moved

“cash from Iran to Iraq” to support their fighters there. 143

         130.    The simultaneous provision of Iranian support to AQI and AAI/AAS not only made

sense to the groups as a force-multiplying strategy but also a financial one; the starting salary for

an AQI fighter ranged from $190 to $1,000 per month whereas AAI/AAS paid $250 per month.

AQI also funded bonuses: $200 for a successful improvised explosive device (IED) attack, $500

to $700 for destroying a High Mobility Multi-Purpose Wheeled Vehicle (HMMWV), and $7,000

for shooting down a helicopter. 144

         By December 2004, AAI/AAS controlled insurgent activity in Mosul and was in
         strong alliance with Abu Musab al-Zarqawi (who at this time had left AAI/AAS to
         form Jama’at al-Tawid wa al-Jihad (TWJ), and in 2004, transformed that group into
         Al Qaeda In Iraq (AQI)). 145




142
    See Ludia Khalil, “The Hidden Hand of Iran in the Resurgence of Ansar al-Islam,” Terrorism
Monitor, Vol. 5 Issue No. 11, June 7, 2007, https://jamestown.org/program/the-hidden-hand-of-
iran-in-the-resurgence-of-ansar-al-islam/.
143
    See, e.g., SigAct Rpt. Ctrl. No. 370030. This data source is unavailable to the public; however,
I have personal knowledge of its contents.
144
    Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1,”
at       pp.      603-04       (US       Army       War        College     Press,     2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.
145
      Id. at pp. 73, 351-52.

                                                  50
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        VII.    AQ, AQI, AND AAI/AAS TACTICS, TECHNIQUES, AND PROCEDURES
                (TTPS) SUPPORTED BY IRAN’S MATERIAL SUPPORT

        131.    The methodology I use to identify Iranian material support brought to bear in AQI

and AAI/AAS’s attacks and that manifested in the TTPs they used is informed by my attack

attribution methodology. While I do not offer attack attribution here, I have analyzed attacks in

Iraq before, including in Anbar, Babil, Baghdad, Diyala, Kirkuk, and Saladin provinces, 146 and I

am well versed in the Iranian support that al-Qaeda, the Zarqawi Organization, and AAI/AAS have

received in these regions.

        132.    It was my practice and tradecraft and accepted military intelligence methodology

to attribute an attack to the group that has primacy in the area where the attack took place. It is

also accepted military intelligence methodology to identify the material support used in an attack

based on the factors present in the lethal environment (caches, weapons, munitions, and expert

personnel), and to assess those factors present in both Support Zones—areas where attacks could

be planned and supported with logistics and weapons—and Attack Zones—areas where

intelligence was gathered on U.S. patrols and operations and attacks are conducted—and to include

the external factors facilitating the attacks.

        133.    In the case of attacks attributed to AQI and its affiliates following Zarqawi’s control

of the Iraqi Sunni insurgency beginning in 2004, the factors present are consistent with the IRGC-

QF strategy that not only moved Zarqawi into the Sunni areas of Iraq for the purpose of killing a

common enemy—American Forces—but, more importantly, to make Zarqawi’s AQI so lethal as

to force U.S. decision-makers to reallocate the majority of U.S. forces to face the AQI threat in




146
    See Brown v. Islamic Republic of Iran, No. 1:21-CV-1308 (TNM), 2023 WL 4824740, ECF
36-20 (D.D.C. July 27, 2023).

                                                  51
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Sunni-majority areas, thus allowing the IRGC to grow its influence and cement control in the

security and political sectors of the Government of Iraq.

        134.   AQI and its affiliates excelled in tactics, techniques and procedures (TTPs)

indicative of a well-trained and well-supplied force, including their selection of firing positions

and targets, military-grade explosives, and sophisticated coordination of multiple types of

munitions at strategic moments in their attacks.

        135.   The following sections describe my professional opinions about several of the most

commonly deployed TTPs used by AQ, AQI, AAI/AAS, and their respective affiliates, which are

based upon my personal and extensive knowledge about the munitions and tactics used, the types

of training required to deploy them, and various other characteristics about both the TTPs and AQI

and AAI/AAS’s use thereof. This leads me to conclude that Iranian material support is strongly

suggested.

               A.      Mortar and Rocket Attacks

        136.   Among the most visible symbols of Iran’s support to Sunni and Shia Proxy Groups

are the mortar and rocket attacks launched against U.S. bases in Iraq, almost all of which involve

entire rocket/mortar systems or components (such as fuel packs) identified as Iranian-produced by

U.S. weapons intelligence specialists. 147




147
    Michael Knights, “The Evolution of Iran’s Special Groups in Iraq,” Combatting Terrorism
Center (CTC) at West Point, CTC Sentinel, Volume 3, Issues 11-12, November 2010, pp. 12-16,
https://ctc.westpoint.edu/wp-content/uploads/2011/05/CTCSentinel-Vol3Iss11-127.pdf.

                                                   52
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        137.   Specifically, 107mm Hesab 148 and 122mm Grad rockets, 149 as well as the larger

240mm Fajr rockets, were used against U.S. bases by Iranian-supported militant groups. Proxy

Groups also made greater use of 60mm and 81mm mortars to precisely target small U.S. Joint

Security Stations (“JSS”). 150

        138.   Successful mortar and rocket fire requires expertise that only comes from advanced

training. Such training requires access to sufficient munitions to test fire (either by smuggling

them across borders or producing them in specialized facilities); space and time in which to run

field tests (outside of coalition forces view); and advanced targeting and operational training for

the mortar and rocket team members, the security personnel used for operations, and personnel

tasked with exfiltration from the launch sites.

        139.   For example, in the case of Indirect Fire (IDF) mortar and rocket attacks, the

preparation for a successful attack required the selection of a launching point or a Point of Origin

(PoO) for the mortar baseplate, rocket launcher system, or rail. Correct placement of this PoO

baseplate, in turn, had to be based on accurate reconnaissance about both the target and the PoO,

as well as well-planned infiltration and exfiltration routes. Such exfiltration routes are particularly

important because once the first mortar or rocket is fired, its trajectory can be reverse-engineered




148
    Agence France-Presse, “US Shows Evidence in Iraq Rocket Attacks It Says Leads to Iran,”
The National, July 14, 2011, http://www.thenational.ae/news/world/middle-east/us-shows-
evidence-in-iraq-rocket-attacks-it-says-leads-to-iran.
149
    James Glanz & Richard A. Oppel Jr., “U.S. Displays Bomb Parts Said to Be Made in Iran,”
The          New         York           Times,          February         27,         2007,
https://www.nytimes.com/2007/02/27/world/middleeast/27weapons.html?ex=1330232400&en=4
99d376d06186157&ei=5090&partner=rssuserland&emc=rss.
150
   My personal knowledge of weapons and equipment found in caches informs my assertion that
both Sunni and Shia groups had access to them.

                                                  53
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by coalition forces for precise (and swift) counterattacks. As such, successful mortar and rocket

deployment required that the timing of this exfiltration be well-rehearsed.

         140.   Further training was additionally required to ensure—even in the case where

counterattacks were unavoidable—that the maximum number of mortars and rockets could be fired

before the launch-point was neutralized. As such, mortar and rocket TTPs involving multiple

rounds evinces both advanced training and practice.

         141.   Another important aspect of successful mortar and rocket attacks was the

adjustment of fire after the first mortar/rocket was launched, as IDF munitions necessarily lack

guidance systems. As such, any imprecision in the initial launch trajectory would need to be

quickly—and accurately—adjusted by the perpetrators in order for subsequent rounds to hit their

targets and report the damage done to U.S. personnel and equipment. 151 This kind of targeting and

adjusted fire (eyes on the objective corrections passed to the team firing the rockets) was used by

AAI/AAS/TWJ/AQI in rocket attacks against U.S. installations and FOBs. This targeting—

whether initially successful or subsequently adjusted—required advanced training and practice,

the kind of which Iran was actively providing AAI/AAS/TWJ/AQI.

         142.   Each of these IDF TTPs was taught to AAI/AAS groups by Hezbollah in Iran and

to al-Qaeda in Lebanon. The training of AQI would subsequently be conducted in Iraq and Syria

by members previously trained in Iran and Lebanon. 152 This conclusion likewise follows from the

fact that U.S. forces learned that Iranian mortars were used in AQI attacks.




151
      The U.S. military refers to this as Battle Damage Assessment (BDA).
152
    My experience as an intelligence officer and analyst—in particular, my access to intelligence
on captured and killed AAI/AAS, AQI, and related foreign fighters (cell phone and computer
exploitation, passports, and how they died, including from suicide bombings, SVBEIDs, and raids
against AQI high value targets)—informs this assertion.

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        143.   The aforementioned kinds of support, including the training necessary to conduct

mortar and rocket attacks, were simply not available to most insurgents, and would instead have

had to come from highly organized groups—like AQ, AQI, and AAI/AAS—especially in the

regions where they dominated. Furthermore, each of these categories of support was provided to

these groups by Iran and its proxies IRGC, IRGC-QF, Hezbollah, and Syria.

               B.     Suicide Bombings

        144.   The preferred method of attack for the reenergized AAI/AAS was suicide

bombings. Prior to the December 2004 FOB Marez attack, AAS leaders issued a statement on the

group’s website informing the world that “300 jihad martyrs” had “renewed their pledge to Allah

. . . in order to be suicide bombers in the victory of Allah’s religion,” indicating that plans for

suicide attacks were underway. 153 These fighters along with hundreds more recruited from abroad

and smuggled into Iraq would go on to terrorize the local population with suicide bombs and car

bombs against civilians and CF targets.

        145.   As to AQI, I have personal experience understanding the circumstances involved

in numerous suicide bombings in Iraq. In most suicide bombings I came to have knowledge of in

Iraq, the suicide bomber was a foreign fighter ready to kill U.S. forces through martyrdom who

had entered Iraq from Syria after AQI had specifically requested the assistance of a suicide bomber

martyr. Such suicide bombers were especially known to Syrian intelligence, which made sure

these individuals made their way fully into Iraq, again, to ensure they did not conduct attacks

against the Assad regime.




153
    Col. Joel D. Rayburn & Col. Frank K. Sobchak, “The U.S. Army in the Iraq War, Volume 1,”
at        p.      175       (US        Army        War        College      Press,     2019),
https://press.armywarcollege.edu/cgi/viewcontent.cgi?article=1385&context=monographs.

                                                55
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        146.   Similarly, through personal experience, I know that successful suicide bomb-

makers (including suicide vest-makers, IEDs, and VBIEDs) were a highly sought after skillset,

given the training, sophistication, and practice necessary to successfully deploy suicide bombs.

These highly skilled combatants would routinely enter Iraq via the IRGC-QF and the Syrian-

intelligence Foreign Fighter Facilitation network, with the full knowledge of both Iran and Syria.

               C.     Improvised Explosive Device (IED) Attacks

        147.   The IRGC-QF supplied advanced lethal aid to both Sunni terrorist and Shia militant

groups, including by providing them with advanced IEDs. 154 The IRGC-QF supplied these groups

with IEDs, training, and advanced technology for explosive devices. These advanced technologies

included triggering devices to defeat U.S. countermeasures at the time. 155

        148.   The U.S. uncovered evidence of IRGC-QF assistance to Sunni groups in Iraq,

including supplying al-Qaeda affiliates with IED components to be used in IED ambushes and

suicide attacks. On January 9, 2008, the U.S. Department of the Treasury, under Executive Order

13438, designated IRGC-QF operatives for threatening the peace and stability of Iraq and the

Government of Iraq. 156




154
   Michael E. O’Hanlon, et al., “Iraq Index Tracking Variables of Reconstruction & Security in
Post-Saddam Iraq,” Brookings, November 29, 2007, https://www.brookings.edu/wp-
content/uploads/2020/08/fp_20200825_iraq_index.pdf.
155
    Clay Wilson, “Improvised Explosive Devices (IEDs) in Iraq and Afghanistan: Effects and
Countermeasures,” Congressional Research Service, updated August 28, 2007,
https://sgp.fas.org/crs/weapons/RS22330.pdf.
156
     “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,” Press Release, U.S.
Department of the Treasury, January 9, 2008, https://home.treasury.gov/news/press-
releases/hp759.

                                                56
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            149.   IRGC-QF Brigadier General Ahmed Foruzandeh was also designated by the U.S.

Treasury for providing financial and lethal aid to Sunni and Shia groups. 157

            150.   As early as 2004, Foruzandeh provided explosives to Sunni groups and offered to

incentivize IED and suicide attacks with additional funds from the IRGC-QF for videotaped

attacks against U.S. forces. 158

            151.   IED attacks are complex and sophisticated attacks in that the IEDs (and particularly

more sophisticated IED types such as VBIEDs, HBIEDs, VOIEDs, SVBIEDs, SVIEDs, etc.) 159

must be built by well-trained terrorist explosive experts, particularly if the IEDs involve

sophisticated detonation mechanisms such as remote or radio detonation, conditional detonation

(such as pressure plates or crush wires), or booby trapped detonation mechanisms that require that

the bomber carefully leave the IED emplacement area without triggering the recently deployed

trap. Further, camouflaged IEDs that were buried deeply and car bombs (VBIED) were signature

weapon systems for AQ, AQI, AAI/AAS, and their respective affiliates. These were IRGC-QF-

and Lebanese Hezbollah-taught tactics that were particularly lethal to coalition forces. It is for

this reason that bomb-makers were priority coalition forces targets focused on routing out AQI

and AAI/AAS IED and VBIED capabilities. 160




157
      Id.
158
      Id.
159
   Subtypes of IEDs employed in attacks in question include vehicle-borne IEDs (“VBIEDs”),
house-borne IEDs (“HBIEDs”), victim-operated IEDs (“VOIEDs”), suicide vehicle-borne IEDs
(“SVBIEDs”), and suicide vest IEDs (“SVIEDs”).
160
     My testimony on this subject has been previously recognized by this court. See, e.g., Brown
v. Islamic Republic of Iran, No. 1:21-CV-1308 (TNM), 2023 WL 4824740, ECF 36-20 (D.D.C.
July 27, 2023).

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       152.    IED attacks are additionally sophisticated in that the target must be selected based

on intelligence and surveillance of U.S. operations to determine target location, and then the IED

must be emplaced in the target location surreptitiously, without going noticed by coalition forces

or their allies. This emplacement is particularly difficult unless the emplacer has significant

support in the form of training, intelligence, munitions, watchful co-conspirators to keep lookout

during emplacement, and additional monitoring post-emplacement to ensure successful

detonation.

       153.    I have personal knowledge about multiple IEDs set and detonated by AQI and

AAI/AAS, which featured the emplacement of an IED followed by keen monitoring by AQI and

AAI/AAS personnel.      Once the sophisticated IEDs were produced by AQI and AAI/AAS

personnel, AQI and AAI/AAS provided security around the placement and often recruited low-

level civilians as part of the emplacement team who were paid to put the finished explosive in the

ground. Such low-level recruits were particularly useful because they were expendable and had

little knowledge of the terrorist cell they were supporting. If these recruits were detected by

Coalition Intelligence, Surveillance, and Reconnaissance (ISR) assets and were killed while

emplacing the IED, the terrorist organization to which they were affiliated would suffer no loss of

capability.

       154.    I also have personal knowledge about AQI and AAI/AAS IED detonation

techniques.   AQI and AAI/AAS often used so-called “command directed” triggermen, i.e.,

individuals who would provide “overwatch”—continuous surveillance—over a target until the

IED attack was executed and conducted by a trusted AQI or AAI/AAS member or sympathizer.

This process requires covert coordination and sophisticated planning to avoid thwarting. The

planning, expert construction of the explosive, and the execution of an IED is an unfortunately



                                                58
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effective attack against U.S. personnel, and is evidence of well-trained and well-orchestrated

insurgents using the kinds of training I described previously as being provided to AQI and

AAI/AAS by Iranian agents.

       155.    With respect to each of the foregoing characteristics of IEDs, I have personal

knowledge that AQI and AAI/AAS specialized in these tactics and deployed such IEDs to great

effect using the aforementioned training and material support it had received from the IRGC-QF.

               D.      Complex Attacks

       156.    Complex Attacks are those requiring specific skills and preparation, and involve

multiple weapon systems or complex tactics like SVBIEDs, suicide vests, VBIEDs, and IEDs. In

my experience these attacks often incorporated an IED, direct-fire, indirect-fire, and secondary

explosions for first responders. Such attacks thus combine and rely upon all of the material support

I have described herein and could only have been perpetrated by highly coordinated insurgents

that made use of multiple categories of support that were being provided to AQ, AQI and

AAI/AAS by Iran and its agents.

       157.    The IRGC-QF and Hezbollah provided trainings on tactics for collecting

intelligence on targets in preparation for attacks.      Iran taught Hezbollah these tactics for

intelligence collection in the early 1980s while it was engaged in war with Israel. Hezbollah

further developed this intelligence methodology into a “how to” training, which was delivered to

AQI, AAI/AAS, and their respective affiliates.

       158.    In making preparations for complex attacks, terrorists, including AQI and

AAI/AAS, learned from Hezbollah how to apply reconnaissance and surveillance practices to

scope out an area for attack, prepare exfiltration routes, monitor timing of shift changes and

patterns of patrols, and learn the response times of U.S. Quick Reaction Forces (QRF). The

trainings sensitized AQI, AAI/AAS, and their respective affiliates to the types of information that

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they would need to collect in order to make any attack successful. This empowered AQI,

AAI/AAS, and their respective affiliates to prepare for attacks without further input from Iran or

Hezbollah as to the details of any specific attack—having learned the Iran-Hezbollah intelligence

methodology, AQI, AAI/AAS, and their respective affiliates could prepare such intelligence on

their own. With each successful attack, U.S. forces concluded the attacks were planned out,

rehearsed, and sourced, and benefitted from pattern analysis and intelligence—a trained tactic of

the IRGC-QF and Hezbollah.

       159.    It is my professional opinion that, in addition to Iranian material support being

suggested by the deployment of any one of these advanced tactics, techniques, and procedures

(TTPs)—each of which was materially supported by Iran—the deployment of multiple of these

TTPs simultaneously, and in concert with one another—as was observed in AQ-, AQI- and

AAI/AAS-conducted complex attacks—is further evidence that Iranian material support was

brought to bear on the attack at issue. In short, where multiple advanced terrorist techniques of

the kind Iran was providing are simultaneously observed in any given attack, the likelihood of

Iranian material support being used in the attack goes up exponentially.

       VIII. CONCLUSIONS

       160.    My observations above are the product of decades of experience specializing in

identifying Iranian material support to Sunni terrorists, including specifically Iranian material

support wielded by AQ, AQI and AAI/AAS in their attacks against American coalition forces.

       161.    After analyzing this conduct and the specific AQ, AQI, and AAI/AAS conduct I

observed in the field, the inescapable conclusion is that the Islamic Republic of Iran specifically

used its IRGC, and MOIS to provide funding, training, weapons, equipment, and most importantly

lethal aid to its Sunni Terrorist Proxies, al-Qaeda, the Zarqawi Organization, and AAI/AAS so that

they could target Americans in Iraq.

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        162.    All information and opinions contained in this Report are truthful and accurate, and

if called to testify, I would testify consistently with this Report. The publications, articles, studies,

and transcripts cited in this Report are reliable and trustworthy, are the type of resources relied

upon by professionals in my field, were prepared according to legal requirements of the respective

governmental departments, agencies, or offices by whom they were generated, are public records

from the governmental department, agency or office where such types or kinds of items are kept,

are reports from the governmental department, agency or office with a duty to report on the subject

matters of the reports, including factual findings, and/or are legitimate and reliable sources of

information.

        163.    My current CV is attached hereto as Appendix 1.




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I hold the conclusions and opinions detailed in this report to a reasonable degree of professional

certainty, and pursuant to 28 U.S.C.A. §1746, I declare under penalty of perjury under the laws of

the United States of America the foregoing is true and correct.


                                                                  Executed on November 29, 2023



                                                                              Michael P. Pregent




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                                             Michael Pregent
                                             pregentm@gmail.com
                                                 202-617-1938


I am a senior security, intelligence, and foreign relations expert with over 30 years of engagement experience with
host-nation partners in hazardous, high-tempo environments in the Middle East, North Africa, and Southwest
Asia. A track record of delivering notable results using my strong communications, research, briefing, and critical
thinking skills. Regularly exceed objectives through effective management of scarce resources and applying
leadership skills to focus and team efforts. Demonstrable executive management and collaborative operations
experience in tactical, operational, strategic environments.

PROFESSIONAL EXPERIENCE

Hudson Institute, Washington DC                                                                 2015- Present
Senior Fellow

        •   Advance anti-ISIS and counter-Iranian influence policy proposals by producing original
            publications, hosting panels, appearing on media, and briefing the National Security Council,
            U.S. Congress, U.S. State Department, and the U.S. Department of Defense
        •   Advise foreign security and intelligence officials on US counter-terrorism policy.
        •   Assess conditions on the ground and determine viable strategies to counter al-Qaeda, ISIS, and
            Iranian influence by frequently traveling to the Middle East and Southwest Asia.

MP Consulting, Washington DC                                                                   2015 - Present
Consultant

        •   Support the plaintiffs in extra-judicial killings and human-rights violation trials as an expert
            witness, delivering testimony that determines attack attribution.
        •   Apply my expertise in attack signatures, tactics, techniques, and procedures used by terrorist
            groups and state sponsors of terrorism to advise legal teams on violations of UNSCRs,
            sanctions, and terrorist designations.
        •   Leverage my extensive experience to advice both public sector and private sector clients on
            matters related to terrorism, radial ideologies, the Middle East, intelligence, and defense
            strategy in relation to U.S. national security and policy.
        •   Served as Executive Director for Veterans Against The Deal, leading strategic media and
            engagement strategy, devising and implementing global awareness campaigns, developing
            strategic partnership, coordinating donor funding, and managing the operations budget.


National Defense University, Washington DC                                                       2014- 2017
Adjunct Lecturer and Visiting Fellow for Institute of National Strategic Studies

        •   Conducted original research on ISIS and the Islamic Republic of Iran and produced assessments
            on sectarian violence, indicators of instability, insurgency, terrorism, counter-insurgency, and
            counter-terrorism.
        •   Designated as a Distinguished Contributor to the Department of the Army’s History of the Iraq
            War.

Liaison Solutions International, LLC                                                             2013 – 2014
        Case 1:21-cv-01808-RDM              Document 41-4          Filed 12/13/23       Page 65 of 65
Director of Marketing and Strategic Consulting

       •    Applied regional and cultural expertise to improve communications strategies and customer
            engagement for private sector companies targeting audiences in the Middle East and North
            Africa.
       •    Increased market share by establishing a new international network designed to get concepts,
            products, and services in front of decision makers.

US Central Command J2, McDill AFB, FL                                                              2011- 2013
Subject Matter Expert

       •    Served as a Subject Matter Expert on regional political and cultural issues, Islamic terrorist
            groups, and the intelligence and security Services in the Middle East, North Africa, Afghanistan,
            and Pakistan.
       •    Selected by-name to assess intelligence value of Osama Bin Laden Sensitive Site Exploitation
            documents, particularly Pakistani and Iranian support to the Taliban and the Haqqani Group.
       •    Leveraged cultural and subject matter expertise to improve engagement with host-nation
            decision-makers, counter-insurgency officials, insurgent leaders, and tribal leaders in
            counterinsurgency and counterterrorism operations.

Defense Intelligence Agency, Washington DC                                                         2006 - 2011
Senior Strategic Engagement Lead (Intelligence)

       •    Developed strategies for countering terrorism, the Iraqi insurgency and supporting Sunni
            reconciliation in collaboration with intelligence agencies, Multi-National Force-Iraq, US Embassy
            Team, and Iraqi civil and military officials.
       •    Improved engagement and drove forward progress by leveraging my extensive first-hand
            experience working with host-nation decision-makers, counter-insurgency officials, as well as
            former insurgent and tribal leaders.

U.S. Army, Various Locations Worldwide                                                             1986- 2006
Intelligence Officer

       •    Advised and liaised with host-nation military, counter-insurgency forces, and counter-terrorism
            government officials in Egypt, Iraq, Saudi Arabia, Kuwait, and Afghanistan.
       •    Improved intelligence capabilities by introducing and employing U.S. Intelligence Surveillance
            and Reconnaissance assets to host-nation forces.
       •    Improved the safety and security environment in urban and rural areas by leading intelligence
            operations at tactical and operational levels.

EDUCATION
      • Masters in Strategic Public Relations
         George Washington University School of Political Management                                  2015
      • Bachelor of Arts in Political Science
         Indiana University                                                                           1995
      • Modern Standard Arabic and Egyptian Dialect
         Defense Language Institute                                                                   1988

   Proficient in Modern Standard Arabic, Iraqi, Egyptian, and Gulf dialects, as well as Spanish.
